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                     6

                     7

                     8                                UNITED STATES BANKRUPTCY COURT
                     9                                  CENTRAL DISTRICT OF CALIFORNIA
                    10                                           LOS ANGELES DIVISION
                    11

                    12   In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                     Jointly Administered:
                    13            SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                               Chapter 11
                                          Debtors and Debtors in
                    15                    Possession.
                    16   SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    17                    Plaintiff                                  AMAZON LOGISTICS, INC.’S
                                                                                     OPPOSITION TO APPLICATION FOR
                    18   v.                                                          TEMPORARY RESTRAINING ORDER
                                                                                     AND DECLARATIONS OF JAMES
                    19   AMAZON LOGISTICS, INC.,                                     WILSON AND RICHARD W. ESTERKIN
                                                                                     IN SUPPORT THEREOF
                    20                    Defendant.
                                                                                       Date:        October 28, 2019
                    21                                                                 Time:        2:00 P.M.
                                                                                       Place.:      United States Bankruptcy Court
                    22                                                                              Edward Roybal Federal Building
                                                                                                    255 E Temple St., Ctrm 1375
                    23                                                                              Los Angeles CA 90012
                    24

                    25

                    26

                    27   1
                           The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                         Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28   Boulevard, in Glendale, California 91214.
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                     1           Defendant Amazon Logistics, Inc. (“Amazon Logistics”) respectfully submits the

                     2   following opposition to Plaintiff Scoobeez, Inc.’s motion for a temporary restraining order herein:

                     3           1.       The present motion seeks a temporary restraining order enjoining Amazon

                     4   Logistics from taking certain actions that it has purportedly threatened to take because those

                     5   actions would violate the automatic stay. If for no other reason, the motion should be denied

                     6   because the requested relief is redundant. The automatic stay is an injunction that automatically

                     7   comes into effect upon the filing of a bankruptcy petition. Accordingly, there is already an

                     8   injunction in place that precludes Amazon Logistics from violating the automatic stay, i.e., the

                     9   automatic stay itself. Scoobeez, Inc. (“Scoobeez”) fails to provide any reason why any additional

                    10   relief is required.

                    11           2.       The present motion is predicated upon a made up threat to violate the automatic

                    12   stay based upon snippets from an October 16, 2019 e-mail taken out of context.2 If one reads the

                    13   e-mail in its entirety, the e-mail states that Amazon Logistics intends to act under three

                    14   circumstances.

                    15                    (a)     First, with the consent of Scoobeez pursuant to the terms of a separation

                    16   agreement with Scoobeez. There is no separation agreement. Hence, no threat that Amazon

                    17   Logistics would act pursuant to a separation agreement. Further, action taken with Scoobeez’s

                    18   consent under the proposed separation agreement could not possibly violate the automatic stay.

                    19                    (b)     Second, following a sale of Scoobeez’s assets to a buyer that included an

                    20   assignment of the Amazon Logistics contract (the “Contract”). Following such a sale, the

                    21   Contract would no longer be property of Scoobeez’s bankruptcy estate and any action that

                    22   Amazon Logistics took pursuant to the Contract could not possibly violate the automatic stay.

                    23                    (c)     Third, the e-mail states that “In the event that a sale including an

                    24   assumption and assignment of the Amazon/Scoobeez contract is approved by the Court over

                    25   Amazon’s objection, whether or not the sale closes, Amazon will begin reducing Scoobeez’s

                    26   routes.” The e-mail is silent as to whether the route reduction would proceed in the absence of

                    27   Amazon Logistics seeking relief from the automatic stay (or an order that the automatic stay does

                    28   2
                             Exhibit C, at pages 46-47 of the motion.
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                     1   not apply). To that end, concurrently with the filing of this opposition, Amazon Logistics has

                     2   filed a motion with this Court seeking that relief.

                     3   In sum, there is nothing in the e-mail upon which this motion is based that suggests that Amazon

                     4   Logistics would violate the automatic stay. For that reason alone, the present motion should be

                     5   denied.

                     6              3.    The motion seeks relief with respect to three purportedly threatened acts: (a)

                     7   exercise of Amazon Logistics’ right to terminate the Contract on 30 days’ notice; (b) Amazon

                     8   Logistics reducing the number of routes assigned to Scoobeez; and (c) Amazon Logistics

                     9   informing Scoobeez’s drivers that Amazon Logistics intends to terminate its relationship with

                    10   Scoobeez to “poach” those drivers. Each of those allegations is addressed below.

                    11              4.    The October 16, 2019 e-mail has one sentence regarding Amazon Logistics’

                    12   exercise of its termination right: “If the sale does in fact close without a separation agreement,

                    13   then upon closing, Amazon will immediately exercise its right to terminate the Amazon/Scoobeez

                    14   contract.” As stated above, once the sale closes, the automatic stay would no longer restrain

                    15   Amazon Logistics from exercising its termination right. Thus, there is nothing in the e-mail, or in

                    16   any of the declarations filed in support of the motion, that suggests that Amazon Logistics intends

                    17   to exercise its termination right while the Contract remains property of the Scoobeez bankruptcy

                    18   estate.3

                    19              5.    There is no evidence that Amazon Logistics has had any inappropriate contact

                    20   with Scoobeez’s drivers or that there has been an exodus of Scoobeez drivers. In fact, by filing

                    21   the present adversary proceeding and motion, Scoobeez has likely self-inflicted the damage that

                    22   the present motion purports to have been filed to avoid. By filing the present adversary

                    23   proceeding and motion, Scoobeez has created a public record that Amazon Logistics intends to

                    24   sever its relationship with Scoobeez. Since many, if not all, of Scoobeez’s employees are

                    25   creditors, they are undoubtedly following the court filings and will learn through Scoobeez’s own

                    26   filings that, whether or not Scoobeez’s assets are sold, Amazon Logistics has determined to sever

                    27
                         3
                              Rather than burdening the Court with unnecessary motion practice, Amazon Logistics sought to reach a
                    28        consensual separation agreement with Scoobeez prior to seeking relief from the Court.
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                     1   its relationship with Scoobeez and Scoobeez’s view of the consequences of that decision on

                     2   Scoobeez’s continued ability to operate. That fact will now likely spread of its own accord, in an

                     3   uncontrolled manner, rather than in a coordinated message that would have been communicated

                     4   jointly by Amazon Logistics and Scoobeez, had Scoobeez agreed to enter into the proposed

                     5   separation agreement.

                     6          6.      Moreover, Amazon Logistics’ proposed joint communication with Scoobeez

                     7   would have benefitted Scoobeez’s employee drivers by mitigating the potential economic harm of

                     8   a reduction in Scoobeez’s business by informing them of the opportunity to seek employment

                     9   after the termination of the Amazon Logistics-Scoobeez Contract and by ensuring they received

                    10   all notices (e.g., WARN and similar state statues) that Scoobeez is legally required to provide.

                    11   The proposed communication plan also would have benefitted Scoobeez by providing it ample

                    12   time to issue any legally required notices and by mitigating the risk that Scoobeez’s employees

                    13   resign before the termination of the Contract, acting on incomplete information regarding the

                    14   details of the Contract’s termination and their potential opportunities with other delivery service

                    15   providers. See Declaration of James Wilson ¶¶ 7(a) and 10.

                    16          7.      Amazon Logistics does not believe that reducing the number of routes assigned to

                    17   Scoobeez would violate the automatic stay. Tellingly, the motion does not place the Contract into

                    18   evidence or quote from the Contract. The Contract is explicit:

                    19                  You acknowledge and agree that Amazon makes no promises or
                                        representations whatsoever as to the amount of business that you
                    20                  can expect at any time under these Terms, whether before or after
                                        any Work Order becomes binding on you.
                    21

                    22   Delivery Provider Terms of Service (“Terms”) at ¶ 1(c). Thus, the present motion attempts to

                    23   utilize the automatic stay in order to create a right to obtain Amazon Logistics’ business that does

                    24   not otherwise exist. The automatic stay cannot be used in this fashion. In re Tudor Motor Lodge

                    25   Associates, LTD. Partnership, 102 B.R. 936, 954 (Bankr. N.J. 1989) (“The rights of the creditor

                    26   are frozen, but not changed.”).

                    27          8.      The sole case cited by Scoobeez in support of its request for this extraordinary

                    28   relief is In re Ernie Haire Ford, Inc., 403 B.R. 750 (Bankr. M.D. Fla. 2009). In that case, a
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                     1   chapter 11 automobile dealer had contracts with automobile finance companies pursuant to which

                     2   the dealer could tender automobile purchase agreements to the finance companies for purchase by

                     3   the finance companies. “Soon after the filing of the bankruptcy, the Auto Finance Companies

                     4   terminated their individual Contract Purchase Agreements with Ernie Haire Ford, without seeking

                     5   relief from the stay, on the basis that the Contract Purchase Agreements were non-assumable

                     6   contracts to extend financial accommodations.” 403 B.R. at 752. The court rejected the finance

                     7   companies’ argument that they were free to exercise their rights under the contracts’ terminable at

                     8   will provisions, holding that “under Florida law, a terminable at will provision can only be

                     9   exercised in good faith in accordance with the parties’ reasonable commercial expectations.” and

                    10   that the terminations were not in good faith as “the only reason for the termination was the filing

                    11   of the Debtor’s chapter 11 bankruptcy.” 403 B.R. at 753 and 754. The finance companies also

                    12   argued that they were free to “functionally” terminate the contracts by declining to purchase all of

                    13   the automobile purchase agreements tendered to them by the debtor. The court rejected that

                    14   argument, once again relying upon the covenant of good faith and fair dealing as applied under

                    15   Florida law. “Additionally, the implied covenant of good faith and fair dealing likewise applies

                    16   to the Auto Finance Companies’ exercise of discretion in this context, and the rejection of every

                    17   Consumer Contract produced by Ernie Haire Ford without regard to the merits of the individual

                    18   transaction is a violation of that implied covenant.” 403 B.R. at 760.

                    19          9.      Ernie Haire is distinguishable from the present case in two respects. First,

                    20   according to the moving papers, Amazon Logistics determined to sever its relationship with

                    21   Scoobeez in October 2019, six months after Scoobeez filed its chapter 11 petition. Having

                    22   continued its relationship with Scoobeez for six months after Scoobeez filed its chapter 11

                    23   petition, there is no evidence that Amazon Logistics’ decision was based upon the chapter 11

                    24   filing, in contrast to the auto finance companies in Ernie Haire.

                    25          10.     Second, the automatic stay protects the property rights of the bankruptcy estate.

                    26   11 U.S.C. § 362(a)(3). The Ernie Ford court concluded that, under Florida law, the debtor in that

                    27   case had a property right to require the auto finance companies to consider each tendered auto

                    28   purchase agreement in good faith. The Contract provides for the application of Washington, not
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                     1   Florida, law. Terms, ¶ 11(f). Under Washington law, “The implied duty of good faith is

                     2   derivative, in that it applies to the performance of specific contract obligations. If there is no

                     3   contractual duty, there is nothing that must be performed in good faith.” Johnson v. Yousoofian,

                     4   84 Wash. App. 755, 762 (1966) (Internal citations omitted).4 Here, the Contract is explicit that

                     5   Amazon Logistics does not have a contractual duty to provide business to Scoobeez. As a result,

                     6   under Washington law, there is no implied obligation to award Scoobeez routes in good faith and

                     7   there is no property interest protected by the automatic stay.5

                     8          11.      In sum, Ernie Haire does not support Scoobeez’s assertion that the automatic stay

                     9   compels Amazon Logistics to provide any particular volume of business to Scoobeez, or any

                    10   business at all, because there is no evidence that Amazon Logistics’ decision is based upon

                    11   Scoobeez having filed its chapter 11 petition. Further, unlike the Florida law upon which the

                    12   Ernie Haire court relied to find a protected property interest in the requirement that the auto

                    13   dealer’s act in good faith, Washington law imposes no such limitation upon Amazon Logistics.

                    14          12.      Although Scoobeez vociferously argues that Amazon Logistics has reduced its

                    15   routes in order to sever the parties’ relationship, the evidence is to the contrary. The first page of

                    16   Exhibit A to Scoobeez’s motion (page 30) compares the total routes awarded to Scoobeez for the

                    17   weeks ending August 31, 2019 through October 19, 2019. That chart reflects that Scoobeez was

                    18   awarded slightly in excess of 2,100 routes for the most recent week. That hardly constitutes an

                    19   abandonment of Scoobeez by Amazon Logistics. The 2,100 routes is approximately midway

                    20   between the number of routes awarded for the same week in 2017 (2,029) and 2018 (2,333).

                    21   Also, the reduction in the number of routes between the prior week and the most recent week is

                    22   consistent with reductions over the same period in the prior two years. Finally, page two of

                    23   Exhibit A, which compares the monthly total number of routes awarded over a five month period

                    24   of time reflects that, during October 2019, the number of routes awarded to Scoobeez declined by

                    25

                    26
                         4
                    27       For the Court’s convenience, a copy of Johnson is attached hereto as Exhibit B.
                         5
                             Although it had no duty to do so, for the reasons stated herein and in the accompanying declarations, Amazon
                    28       Logistics has acted reasonably and in good faith.
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                     1   less than 5%.6 Scoobeez’s own evidence demonstrates that Amazon Logistics continues to

                     2   provide a significant number of routes to Scoobeez and that the variations in the number of routes

                     3   reflected by that evidence is easily explainable by variations in the number of packages that

                     4   required delivery, the presence of other delivery service providers at the stations at which

                     5   Scoobeez operates, or the absence of sufficient numbers of Scoobeez drivers that prevented

                     6   Amazon Logistics from awarding additional routes to Scoobeez.

                     7          13.      The motion makes reference to a number of additional allegations that are either

                     8   wholly unsupported by the evidence or irrelevant:

                     9                   (a)      The motion refers to “scorecards” rating Scoobeez’s performance of its

                    10   delivery obligations. As explained in the accompanying Declaration of James Wilson, Amazon

                    11   Logistics’ decision to sever its relationship with Scoobeez was based upon a number of other

                    12   factors. As a result, the scorecards are not relevant.

                    13                   (b)      The motion contends, without any evidence, that Amazon Logistics

                    14   knowingly allowed the Debtors to proceed with a sale process that was based, at least in part, on

                    15   an expectation of ongoing business with Amazon. There is no evidence that Amazon was aware

                    16   of Scoobeez’s efforts to sell its assets or as to what, if anything, Scoobeez told prospective

                    17   purchasers regarding its business relationship with Amazon. In fact, on May 13, 2019, Amazon

                    18   Logistics sent an e-mail to its delivery service providers, including Scoobeez, reminding them

                    19   that their contracts contained clauses requiring Amazon Logistics’ consent to any transfer of their

                    20   contracts with Amazon Logistics and providing an e-mail address at which to advise Amazon

                    21   Logistics “of your intention to seek Amazon’s approval.” Had Scoobeez wished to provide

                    22   Amazon Logistics with notice of its intention to sell its business, and solicit Amazon Logistics’

                    23   views on any proposed transfer of the Contract, it should have communicated with Amazon

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                         6
                             It is unclear that the monthly route comparison chart (page 2 of Exhibit A) is comparing “apples to apples.”
                    25       The first page of Exhibit A contains data through the week of October 19, 2019. Thus, presumably, the
                             monthly chart reflecting the number of routes awarded in October 2019 also only includes data through October
                    26       19, 2019, i.e. more than a week prior to the end of the month. There is nothing to indicate whether the number
                             of routes for October 2018 reflected on the second page of Exhibit A includes only routes awarded during the
                    27       same 19 day period, or whether the chart is comparing data for the entire month of October 2018 to data for the
                             first 19 days of October 2019, in which case the overwhelming likelihood is that there has actually been a year
                    28       over year increase in the number of routes.
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                     1   Logistics as described in the May 13, 2019 e-mail. It did not do so. As a result, Scoobeez has no

                     2   one but itself to blame if it failed to obtain Amazon Logistics’ views regarding its proposed sale

                     3   during the sale process.

                     4                  (c)     The motion suggests, without any evidence, that Amazon Logistics’

                     5   position is motivated by a desire to collect a pre-petition debt. As Scoobeez acknowledges,

                     6   Amazon Logistics has vociferously objected to the assumption and assignment of the Contract. If

                     7   Amazon Logistics was motivated by a desire to enforce Scoobeez’s pre-petition obligations under

                     8   the Contract, it would not have objected because, in order to assume and assign the Contract,

                     9   Scoobeez would have been required to perform those pre-petition obligations. 11 U.S.C. §

                    10   365(b). Also, assuming that Scoobeez’s statement that the discontinuance of Amazon Logistics’

                    11   business will cause Scoobeez to cease operating, Amazon Logistics’ decision will have the effect

                    12   of eliminating any possibility of Amazon Logistics obtaining any meaningful recovery on its pre-

                    13   petition debt. Further, there is nothing in the motion that suggests that Amazon Logistics would

                    14   change its position in the event that arrangements were made to pay Scoobeez’s pre-petition

                    15   debts.

                    16            14.   Finally, injunctive relief is not appropriate when the injunction cannot be easily

                    17   administered and enforced. Wright & Miller, Federal Practice and Procedure, § 2942.

                    18                  (a)     In this case, Scoobeez seeks an injunction regulating Amazon Logistics’

                    19   communications with Scoobeez’s drivers in order to prevent Amazon Logistics from “poaching”

                    20   the drivers. Scoobeez has over 1,000 drivers. Drivers may determine to leave their employment

                    21   with Scoobeez for a multitude of reasons. Assuming that this Court were to issue the requested

                    22   injunctive relief, how is this Court going to determine whether there has been an impermissible

                    23   communication that caused a particular Scoobeez driver to obtain other employment, as

                    24   distinguished from the driver learning about Amazon Logistics’ intention to sever its relationship

                    25   with Scoobeez from some other source, including the present motion?

                    26                  (b)     Scoobeez also seeks an injunction requiring Amazon Logistics to continue

                    27   to assign routes to Scoobeez. How many routes and over what period of time? What is the basis

                    28   for whatever number Scoobeez may demand? It is certainly not in the language of the Contract.
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                     1   How is this Court going to determine whether a variance in the number of routes assigned to

                     2   Scoobeez is due to normal variations in supply and demand or the beginning of a purportedly

                     3   impermissible functional termination of the Contract?

                     4   The injunctive relief sought by Scoobeez is wholly impractical and impossible of enforcement.

                     5   Thus, even were the Court otherwise inclined to issue injunctive relief, Scoobeez’s motion should

                     6   be denied on that basis alone.

                     7           15.     For the foregoing reasons, Amazon Logistics respectfully requests that the Court

                     8   decline to issue injunctive relief.

                     9   Dated: October 28, 2019                           MORGAN, LEWIS & BOCKIUS LLP
                    10

                    11                                                     By:    /s/ Richard W. Esterkin
                                                                                      Richard W. Esterkin
                    12                                                      Attorneys for Amazon Logistics, Inc.
                    13

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                     1                               DECLARATION OF JAMES WILSON
                     2          I, James Wilson, declare:

                     3          1.      My job title is Senior Manager, Amazon Logistics. In that capacity, I am familiar

                     4   with the engagement of delivery service providers (“DSPs”), such as Scoobeez, Inc.

                     5   (“Scoobeez”), by Amazon Logistics, Inc. (“Amazon Logistics”) to deliver packages ordered from

                     6   Amazon.com and related online sites.

                     7          2.      In brief, Amazon Logistics and its affiliates contract with a variety of third parties

                     8   to deliver products ordered on the Amazon.com website. For example, a customer may order

                     9   four items but the U.S. Postal Service may deliver one package, UPS may deliver a second, an

                    10   independent contractor may deliver the third, and a DSP, like Scoobeez, may deliver the fourth

                    11   package.

                    12          3.      As part the services provided by a DSP, the DSP picks up packages from one of

                    13   many “delivery stations” located throughout the United States. All of the delivery stations from

                    14   which Scoobeez picks up packages are serviced by multiple DSPs. Amazon Logistics contracts

                    15   with hundreds of independent DSPs; Scoobeez is only one such DSP.

                    16          4.      The number of routes any single DSP will handle varies greatly over time due to

                    17   such factors as the number of packages ordered online, the number of packages to be delivered

                    18   from a particular delivery station, the number of DSPs providing services at a particular delivery

                    19   station, and the number of drivers a DSP employs and makes available to provide services.

                    20          5.      On October 7, 2019, I participated in a telephone call with other Amazon Logistics

                    21   representatives, Scoobeez representatives and counsel for Amazon Logistics and Scoobeez.

                    22   During that call, Micah McCabe informed the Scoobeez personnel and Scoobeez counsel that

                    23   Amazon Logistics had determined to sever its relationship with Scoobeez. During that call, Mr.

                    24   McCabe gave two reasons for that decision. First, Amazon Logistics had become embroiled in

                    25   multiple litigation matters as a result of Scoobeez’s alleged violation of various wage and hour

                    26   laws. Contrary to its contractual obligations, Scoobeez had not defended or indemnified Amazon

                    27   Logistics with respect to that litigation. That litigation has resulted in Amazon Logistics spending

                    28   a considerable amount of money defending itself and resolving the litigation, as well as
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                     1   consuming considerable administrative resources managing the litigation and responding to the

                     2   plaintiffs’ discovery requests. In addition, Mr. McCabe informed those on the phone call that the

                     3   DSPs currently being considered for new contracts with Amazon Logistics have attributes that

                     4   Scoobeez does not. Some of those corporate attributes include, for example, owners personally

                     5   involved on a day-to-day basis with their employees providing services from a delivery station.

                     6   On October 15, 2019, I repeated these reasons to Scoobeez representatives and Scoobeez counsel

                     7   during another conference call.

                     8          6.      The statements at paragraph 11 of Mr. Weiss’s declaration and paragraph 4 of Mr.

                     9   Sheikh’s declaration that the sole reason advanced for Amazon Logistics’ decision to terminate its

                    10   relationship with Scoobeez was Scoobeez’s failure to defend and indemnify Amazon Logistics in

                    11   connection with certain pre-petition litigation are incorrect.

                    12          7.      During the Oct. 7th conversation, Mr. McCabe went on to explain that Amazon

                    13   Logistics wanted to enter into a “separation agreement” with Scoobeez that would have benefited

                    14   both parties through a smooth transition as Amazon Logistics wound down its use of Scoobeez’s

                    15   services, would have provided Scoobeez with a significant monetary payment, and – as important

                    16   – would have provided protections to Scoobeez’s employee drivers to mitigate economic harm

                    17   and to ensure they received all legally required notices from Scoobeez. The key features of the

                    18   proposed separation agreement included:

                    19                  (a)     A schedule for informing Scoobeez’s drivers that Amazon Logistics was

                    20   winding down its use of Scoobeez, communicated in an orderly fashion such that the economic

                    21   impact on the drivers as a whole could be minimized (e.g., by informing them of the ability to

                    22   seek employment with other DSPs) and the impact on Scoobeez’s operations also would be

                    23   minimized (e.g., by mitigating the risk of mass resignations). The schedule also contemplated

                    24   that Scoobeez would timely provide its employees with the statutory notices to which they were

                    25   entitled (if any), such as under the federal or any state WARN act; and

                    26                  (b)     The payment to Scoobeez of in excess of $1,000,000 in return for its

                    27   cooperation in assuring a smooth transition of the business that Amazon Logistics had previously

                    28   awarded to Scoobeez to other DSPs.
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                     1   The effectiveness of the foregoing proposed separation agreement was conditioned upon the entry

                     2   of an order of this Court approving the agreement and authorizing Scoobeez to perform its

                     3   obligations under the agreement.

                     4          8.      Scoobeez’s application for a temporary restraining order contends that Amazon

                     5   Logistics’ decision to terminate the contract between Amazon Logistics and Scoobeez (the

                     6   “Contract”) was intended to facilitate the collection of Scoobeez’s pre-petition debts to Amazon

                     7   Logistics. This is incorrect. As noted above, the decision was based, in part, upon a desire to

                     8   avoid becoming embroiled in further litigation regarding Scoobeez’s business practices. In fact,

                     9   had Amazon Logistics been concerned with collecting the pre-petition amounts owed to it, it

                    10   would have consented to the assumption and assignment of the Contract, which would have

                    11   required the payment in full of those obligations. Further, the proposed, but not accepted by

                    12   Scoobeez, separation agreement contained a release by Amazon of those claims.

                    13          9.      Ultimately, Scoobeez and Amazon Logistics were not able to agree upon the terms

                    14   of a separation agreement. As a result, on October 24, 2019, Amazon withdrew its then pending

                    15   offer to enter into a separation agreement.

                    16          10.     Scoobeez’s application for a temporary restraining order in this case suggests that

                    17   Amazon Logistics intends to contact Scoobeez’s drivers to “poach” those drivers. That is not

                    18   correct. First, Amazon Logistics attempted to obtain Scoobeez’s cooperation regarding

                    19   communications to Scoobeez’s drivers. Those communications would be led by Scoobeez and

                    20   include an announcement that (a) the relationship between Scoobeez and Amazon Logistics

                    21   would be terminating on a date certain, and (b) the drivers would have the opportunity to seek

                    22   employment with other DSPs. One reason for such communications is to mitigate the risk of

                    23   Scoobeez’s drivers resigning prematurely from Scoobeez. In Amazon’s experience, drivers are

                    24   more likely to remain employed with a departing DSP and find new employment with another

                    25   DSP (and therefore lose less wages overall) if the foregoing information is communicated at the

                    26   same time as the drivers learn the DSP/Amazon relationship is ending. The drivers also

                    27   appreciate being “kept in the loop” and being able to connect with other potential employers (e.g.,

                    28   other DSPs) to plan for the future. That said, because Scoobeez has refused to enter into the
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                     1                          DECLARATION OF RICHARD W. ESTERKIN

                     2          I, Richard W. Esterkin, declare:

                     3          1.      I am an attorney at law, duly admitted into practice before all courts for the State

                     4   of California and the United States District Court for the Central District of California. I am a

                     5   member of the law firm of Morgan, Lewis & Bockius LLP, counsel for Amazon Logistics, Inc.

                     6   (“Amazon Logistics”) in the above referenced matter.

                     7          2.      I believe that, because Scoobeez, Inc. (“Scoobeez”) does not have a property

                     8   interest under its contract with Amazon Logistics to be assigned any particular number of routes,

                     9   or any routes at all, Amazon Logistics is not precluded from altering the number of routes

                    10   assigned to Scoobeez by the automatic stay. Prior to the filing of the current application for a

                    11   temporary restraining order, Scoobeez had not taken the position that a unilateral reduction by

                    12   Amazon would violate the automatic stay. Now that Scoobeez has taken that position, Amazon

                    13   Logistics has filed a motion seeking an order determining either than the automatic stay does not

                    14   preclude Amazon Logistics from reducing the number of routes assigned to Scoobeez, or

                    15   modifying the automatic stay to permit Amazon Logistics to reduce the number of routes

                    16   assigned to Scoobeez in Amazon Logistics’ sole and absolute discretion.

                    17          3.      The first time that I had any notice that Scoobeez was attempting to sell its

                    18   business was on August 29, 2019, when I received an e-mail from Ashely McDow, counsel for

                    19   Debtors, requesting that I participate in a telephone call with her to discuss a bidding procedures

                    20   motion that she contemplated filing that evening.

                    21          I declare under penalty of perjury that the foregoing is true and correct and that this

                    22   declaration was executed at Santa Monica, California on October 28, 2019

                    23
                                                                             /s/ Richard W. Esterkin
                    24                                                          Richard W. Esterkin
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 BOCKIUS LLP                                                            - 14 -
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                             2
                                                               CERTIFICATE OF SERVICE FORM
                             3
                                                                     FOR ELECTRONIC FILINGS
                             4
                                         I hereby certify that on October 28,2019, I electronically filed the foregoing document,
                             5
                                 Amazon Logistics, Inc.'s Opposition to Application for Temporary Restraining Order and
                             6
                                 Declarations of James Wilson and Richard W. Esterkin in Support Thereof, with the Clerk
                             7
                                 of the United States Bankruptcy Court, Central District of California, Los Angeles Division,
                             8
                                 using the CM/ECF    system, which will send notification of such filing to those parties registered
                             9
                                 to receive notice on this matter.
                            10

                            11

                            12                                                 Renee Robles

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                     1                              DECLARATION OF VANESSA DELANEY

                     2            I, Vanessa Delaney, declare:

                     3            1.       I am employed by Amazon Logistics, Inc. as a Contractor Relations Principal. As

                     4   a result, I am familiar with the contractual relationship between Amazon Logistics, Inc.

                     5   (“Amazon”) and Scoobeez, Inc. (“Scoobeez”).

                     6            2.       The contractual relationship between Amazon and Scoobeez is documented in two

                     7   agreements: a Delivery Provider Terms of Service Work Order (the “Work Order”) and a

                     8   Delivery Service Provider Terms of Service, which is incorporated into the Work Order, (the

                     9   “Terms”). Copies of the Work Order and Terms are attached hereto as Exhibits 1 and 2,
                    10   respectively.

                    11            3.       The distribution points from which Scoobeez is to receive materials from Amazon

                    12   for delivery are set forth in Schedule B to the Work Order. The fees payable to Scoobeez for its

                    13   delivery services from the various distribution points are set forth in Exhibit C to the Work Order.

                    14   Over time, both the distribution points and the fees varied. As a result, there are 18 amendments

                    15   to the Work Order that document those changes. Attached hereto as Exhibits 3 through 20 are

                    16   copies of the foregoing amendments.

                    17            4.       As of September 6, 2019, Amazon and Amazon.com, Inc. had been named as

                    18   defendants in at least three lawsuits in which the plaintiffs contended that Scoobeez had violated

                    19   various labor laws and that each of Amazon and Amazon.com, Inc. were liable to them as “co-
                    20   employers” with Scoobeez:

                    21                     (a)    Jassim Addal v. Amazon.com, Inc., et al., Los Angeles County Superior

                    22                            Court Case No. BC719783;

                    23                     (b)    Unta Key, et al. v. Scoobeez, et al., San Diego County Superior Court Case

                    24                            No. 37-2017-00018285, consolidated with Case No. 37-2017-0039527; and

                    25                     (c)    Bennie Hamilton v. Scoobeez, Inc., et al., Los Angeles County Superior

                    26                            Court Case No. BC669835.

                    27            5.       To date, Scoobeez has not provided Amazon or Amazon.com, Inc. with a defense

                    28   in the foregoing litigation or indemnified them with respect to the plaintiffs’ claims. To date,
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                       1   Amazon and Amazon.com, Inc. have incurred defense costs in connection with the foregoing

                       2   litigation and have not been reimbursed by Scoobeez for those costs.

                       3          I declare under penalty of perjury that the foregoing is true and correct and that this
                                                       Hoboken
                       4   declaration was executed at _______________, New Jersey on September 30
                                                                                                __, 2019.

                       5
                                                                                 _____________________________
                       6                                                         Vanessa Delaney
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                          EXHIBIT 1

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                                             Delivery Provider Terms of Service

                                                             Work Order

            This Work Order (this “Work Order”) is effective as of September 2, 2015 (“Work Order
            Agreement Date”), and is made a part of the Delivery Provider Terms of Service (as the same
            may be amended, modified or supplemented from time to time, the “Terms”) between Amazon
            Logistics, Inc. (“Amazon”), and Scoobeez, Inc., a California corporation (“you”). By accepting
            this Work Order, you (a) agree to be bound by all terms and conditions of this Work Order, and
            (b) represent and warrant that you have legal authority to enter into and perform your obligations
            under this Work Order. This Work Order incorporates the terms and conditions of each
            Schedule attached to this Work Order (including the policies set forth on Schedule A to this
            Work Order (the “Policies”)). Please see the Terms for definitions of certain capitalized terms
            used in this Work Order.

            1.      Services. Services under this Work Order will commence on the Work Order Agreement
            Date, and this Work Order will be subject to the same termination rights set forth in the Terms.
            Deliverables may be tendered by Amazon or its designees from delivery stations, sort centers,
            fulfillment centers, and/or other distribution points (including merchant locations) (collectively,
            the “Distribution Points”) and accepted by you Monday through Sunday, 365 days a year, at
            times and days designated by Amazon. The initial Distribution Points at which Deliverables will
            be tendered are set forth on Schedule B to this Work Order. Amazon and you may from time to
            time and at any time update the Distribution Points set forth on Schedule B to this Work Order.
            Deliveries of Deliverables are to be made on the same day they are tendered to you and within
            the delivery time window specified by Amazon. You will perform the Services in accordance
            with the Policies and with any standard operating procedures (including those relating to check-
            in and loading of Deliverables at Distribution Points and the delivery of Deliverables to Amazon
            customers) that are agreed between Amazon and you from time to time.

            2.     Service Areas. Deliverables will be delivered within the geographic areas serviced by
            the Distribution Points set forth on Schedule B to this Work Order, as updated from time to time
            by Amazon and you.

            3.     Fees Payable by Amazon. The Fees for Services set forth on Schedule C to this Work
            Order are the rates and charges to be charged to and paid by Amazon in consideration of the
            Services furnished by you.

            4.      Insurance. You will, at all times during which you provide the Services and for at least
            two years after all Services are completed, carry, at your expense: (a) “Commercial General
            Liability” insurance with limits of not less than $1,000,000 per occurrence and $2,000,000 in the
            general aggregate (or such other amounts approved by Amazon in writing); (b) “Business
            Automobile Liability” insurance (also known as ‘motor fleet’ insurance) with limits of not less
            than $1,000,000 per occurrence for bodily injury and property damage combined (or such other
            amount approved by Amazon in writing); (c) “Worker’s Compensation” insurance, including but
            not limited to coverage for all costs, benefits and liabilities under workers’ compensation and
            similar Laws that may accrue in favor of any person employed by you in all states where you
            perform Services, and “Employer’s Liability” insurance with a limit of not less than $1,000,000




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            (or such other amount approved by Amazon in writing); and (d) “Cargo Legal Liability”
            insurance, or similar coverage, with limits sufficient to cover your liability under Section 6
            (Claims for Loss or Damage) of the Terms, but in no event less than $25,000 per loss (or such
            other amount approved by Amazon in writing). You may satisfy the foregoing minimum limits
            by any combination of primary liability and umbrella excess liability coverage that results in the
            same protection to you and Amazon insured parties. You may self-insure for workers’
            compensation where allowed by applicable Law. Each of your insurance policies must: (u) be
            issued by companies with a rating of A-/VII or better in the current Best’s Insurance Reports
            published by A.M. Best Company, Inc.; (v) provide that the coverage limits will not be reduced
            below the minimum amounts required by this paragraph and such policy will not be canceled or
            allowed to expire without at least 30 days’ prior written notice from the insurance carrier to
            Amazon; (w) for (a) and (b) above, name Amazon and its Affiliates, and their respective officers,
            directors, employees, successors, assigns, licensees, distributors, contractors and agents as
            additional insureds with the standard separation of insureds provision or an endorsement for
            cross-liability coverage; (x) provide coverage on an occurrence basis; (y) waive any insurer right
            of subrogation against Amazon and its Affiliates and their respective officers, directors,
            employees, successors, assigns, licensees, distributors, contractors and agents, where allowed by
            applicable Law; and (z) provide primary coverage, without any right of contribution from any
            other insurance that Amazon or any of its Affiliates may have.

            5.     Audit Rights. Upon 72 hours’ advance written notice to you, Amazon may, during
            normal business hours and at the expense of Amazon, review your records relating to the Terms,
            the Program Policies, this Work Order or your performance of the Services under this Work
            Order. Upon 24 hours’ advance written notice to you, Amazon may, during normal business
            hours and at the expense of Amazon, perform an on-site visit of your delivery operations or
            conduct “ride-along” observations of your Personnel performing the Services (each, a “Ride-
            Along Observation”); provided, that, without your consent, (a) during the first week of providing
            the Services under this Work Order, Amazon will conduct no more than one Ride-Along
            Observation per day, and (b) after the first week of providing the Services under this Work
            Order, Amazon will conduct no more than four Ride-Along Observations per month. If any
            review establishes that there has been any noncompliance by you or overpayment by Amazon,
            you will promptly cure the non-compliance and/or refund the overpayment, as applicable, and
            will bear all expenses in connection with the review, all without limiting any other rights or
            remedies that may be available to Amazon. Also, upon 24 hours’ advance written notice,
            Amazon may, during normal business hours and at the expense of Amazon, inspect any of the
            processes, procedures, or systems related to your delivery operations.

            6.     Personnel Performing Services. You agree that you and all of your Personnel that
            perform the Services will satisfy the criteria set forth in the Policies and on Schedule F to this
            Work Order.

            7.     Notices to Amazon. Notices to Amazon under this Work Order or the Terms may be
            provided by (a) facsimile transmission to 206-266-2009, or (B) nationally recognized overnight
            courier service, certified mail (return receipt requested), or personal delivery to Amazon
            Logistics, Inc., 410 Terry Avenue North, Seattle, WA 98109-5210, Attention: General Counsel.

                                                    [Signature Page Follows]




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                           IN WITNESS WHEREOF, properly authorized representatives of the undersigned
            have executed this Work Order.

             Amazon Logistics, Inc.                                Scoobeez, Inc.


             By:                                                   By:
             Name:                                                 Name:
             Title:                                                Title:
             Date Signed: _________________________                Date Signed: _________________________




                                                   [Signature Page to Work Order]



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                                                             Schedule A

                                                              Policies

            Your Personnel; No Subcontractors.

            Except as otherwise provided in this Work Order, (a) you will hire and employ all drivers,
            cyclists, walkers, and other Personnel who are assigned by you to perform the Services under
            this Work Order, and (b) you will not engage subcontractors to perform the Services without the
            prior                 written               consent                 of                Amazon.




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                                                             Schedule B

                                                       Distribution Points

                1. UCA3 – Los Angeles, CA

                2. UCA4 – Irvine, CA

                3. UCA5 – Los Angeles, CA




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                                                             Schedule C

                                                   Fees Payable by Amazon

            Prime Now

            Distribution       Duration of           Fees for Services    Uniform and     Total (per
            Point              Planned Route         (per Planned         Vehicle Brand   Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
            UCA3, UCA4,        4.5 hours             $81.00               $5.00           $86.00
            and UCA5           6.5 hours             $124.00              $5.00           $129.00
                               8.5 hours             $167.00              $5.00           $172.00
                               10.5 hours            $210.00              $5.00           $215.00

            For a period of three weeks commencing on the date on which you perform your first Planned
            Route under this Work Order, you will be permitted to engage independent contractors to
            perform the Services. Thereafter, unless you obtain prior written consent from Amazon to the
            contrary, you will hire and employ all drivers, cyclists, walkers, and other Personnel who are
            assigned by you to perform the Services under this Work Order. Notwithstanding the existence
            or terms of any subcontract, you will remain responsible for the full performance of the Services
            in accordance with the Terms and this Work Order. The terms and conditions of this Work
            Order and the Terms are binding upon you, your Affiliates and your and their respective
            Personnel. You will (a) ensure that such entities and individuals comply with this Work Order
            and the Terms, and (b) be responsible for all acts, omissions, negligence and misconduct of such
            entities and individuals. You will also ensure that all of your independent contractors effectively
            and irrevocably waive any lien upon (or other right with respect to) the Deliverables transported,
            regardless of whether such independent contractor would otherwise be entitled to such lien or
            other rights under contract or applicable Law, and waive any claim (including for amounts owed
            for delivery services) against Amazon, its Affiliates and any recipient. Without in any way
            limiting your obligations or Amazon’s rights under Section 9 (Indemnification) of the Terms, if
            any of your independent contractors asserts any claim, demand, suit, or action (an “IC Claim”)
            against Amazon or any of its Affiliates and you are then undergoing any bankruptcy proceeding,
            then Amazon may at its sole discretion, but is not obligated to, defend or settle such IC Claim at
            your cost and expense; provided, that, for the avoidance of doubt, if Amazon incurs or pays any
            loss, damage, settlement, cost, expense or any other liability (including reasonable attorneys’
            fees) relating to such IC Claim, Amazon may set off such amounts in full against any amounts
            Amazon owes to you or demand immediate full reimbursement from you.




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                                                             Schedule D

                                                    Uniform Specifications
            Uniform Shirt and Jacket:

            To be determined from time to time by Amazon.

            Uniform Pants or Shorts:

            To be determined from time to time by Amazon.

            Uniform Hat:

            To be determined from time to time by Amazon.




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                                                             Schedule E

                                               Vehicle Branding Specifications

            Upon a request from Amazon, you agree to make available for branding by Amazon any and all
            Vehicles that will be used to provide Services under this Work Order. If required by Amazon,
            such Vehicles must be branded before they are used to provide Services under this Work Order.
            Unless Amazon agrees otherwise, Vehicles that display Amazon branding will be dedicated
            exclusively to the Services and will not be used for any other purpose.




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                                                             Schedule F

                                                  Delivery Personnel Criteria

            Minimum Delivery Personnel Requirements

            All of your delivery Personnel must satisfy the following requirements:

                    Must possess valid driver’s license of the type required by Law to operate applicable
                     Vehicles and transport applicable Deliverables
                    Minimum age: 21
                    Minimum six months of verifiable experience in like Vehicle within last three years
                    No DUI/DWI within five previous years
                    No major preventable collisions within three previous years
                    Maximum of two non-serious moving violation convictions or preventable minor
                     collisions or any combinations thereof in a commercial or personal vehicle within
                     previous three years
                    No driver’s license suspensions within previous three years relative to a moving violation
                     in a commercial or personal vehicle
                    Pass a drug and alcohol screening test
                    Pass a background verification (described further below)
                    Verify competency in critical skill areas for the specific driving position

            Background Verification

            You will require each applicant to provide a Social Security Number (“SSN”) or equivalent
            unique identifier, and will conduct a SSN search confirming that the supplied SSN is valid and
            that it correctly identifies the applicant. The SSN search (“SSN Search”) must include:

            1.       An identification of aliases via SSN search results; and

            2.     A search by all aliases (including those provided by SSN search and those supplied by
            applicant) when conducting each criminal records search.

            You will conduct:

            1.     a search of the National Criminal Database and a search in each county and
            corresponding federal district, if any, in which a criminal history is identified by the National
            Criminal Database search;

            2.      a federal crimes search of all federal districts in which the applicant has lived within the
            past seven years (as determined by a self-report and the SSN search);

            3.     a felony and misdemeanor search of all county courts in which the applicant has lived in
            the past seven years (as determined by a self-report and the SSN Search); provided, that for
            former addresses located within AL, AK, AR, CO, CT, DE, DC, ID, MD, MN, NE, NJ, NM,




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            NY, NC, ND, OR, RI, SD, UT, WA, and WI only, a “statewide” search is permitted in lieu of a
            county court search;

            4.     a search of the U.S. Department of Justice’s National Sex Offender Database and a search
            in each county and corresponding federal district, if any, in which a criminal history is identified
            by the National Sex Offender Database; and

            5.     a search of any relevant national governmental restricted or prohibited dealings lists,
            including the Office of Foreign Assets Control (OFAC) Specially Designated Nationals and
            Blocked Persons List.

            Criminal History Review

            Background checks should be adjudicated on a case by case basis using your best judgment to
            protect Amazon’s and your respective employees, customers, data, and property. The factors
            listed below can help the decision-making process:
                    a)       the nature of the job to be performed, including the job’s duties, identification of
                             the job’s essential functions, the circumstances under which the job is performed,
                             and the environment in which the job’s duties are performed;
                    b)       type of offense(s) or conduct;
                    c)       facts or circumstances surrounding the offense or conduct;
                    d)       number of offenses for which the individual was convicted;
                    e)       age at the time of conviction or release from prison;
                    f)       evidence that the individual performed the same type of work post-conviction;
                    g)       length and consistency of employment history before and after the offense or
                             conduct;
                    h)       rehabilitation efforts;
                    i)       employment or character references; and
                    j)       whether the individual is bonded under a federal, state, or local bonding program.




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                          EXHIBIT 2

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                       DELIVERY PROVIDER TERMS OF SERVICE
                              (Last Updated: June 21, 2016)

        These Delivery Provider Terms of Service (these “Terms”) contain the terms and
conditions that govern your performance of the Services and constitute a legally binding agreement
between the applicable Amazon Contracting Party or any of its Affiliates that enters into a Work
Order under these Terms (“Amazon”), on the one hand, and you or the entity that you represent
(“you”), on the other hand. These Terms take effect on the date when you click an “Agree” or
similar button or check box presented with these Terms or, if earlier, when you begin to perform
the Services (the “Effective Date”). By accepting these Terms, you (a) on behalf of yourself and
the entity that you represent, agree to be bound by all terms and conditions of these Terms, and (b)
represent and warrant that you have legal authority to bind the entity that you represent to these
Terms. Please see Section 11 for definitions of certain capitalized terms used in these Terms.

1.     Services.

        a.      Work Orders. At Amazon’s request and as specified in one or more work orders
that become binding on you (whether by executing the same or otherwise agreeing to the applicable
terms, including pursuant to the functionality of the Site) (“Work Orders”), you will provide
transportation, delivery and related services (whether on foot, by bicycle, by motor vehicle, or
otherwise) (“Services”, as such term is further described in any Work Order) in accordance with
the terms and conditions of these Terms, the Program Policies, and any performance standards set
forth in each applicable Work Order. These Terms and the Program Policies govern each Work
Order, and if you commence Services for Amazon in the absence of a Work Order, these Terms
and the Program Policies will nevertheless apply.

        b.     Affiliates. Any Affiliate of the applicable Amazon Contracting Party may enter
into Work Orders with you pursuant to these Terms, and with respect to such Work Orders, such
Affiliate becomes a party to these Terms and references to Amazon in these Terms are deemed to
be references to such Affiliate. Each Work Order is a separate obligation of the Affiliate of the
applicable Amazon Contracting Party that is named in such Work Order, and neither the Amazon
Contracting Party nor any other Affiliate of the Amazon Contracting Party has any obligation
under such Work Order.

        c.      No Minimum Volume/No Exclusivity. You acknowledge and agree that Amazon
makes no promises or representations whatsoever as to the amount of business that you can expect
at any time under these Terms, whether before or after any Work Order becomes binding on you.
Amazon may from time to time give volume, density, weight, product distribution or other
projections to you, but such projections are speculative only and will not in any event give rise to
any liability on the part of Amazon. The parties acknowledge and agree that Amazon may engage
the services of other companies that may perform the same or similar services as those provided
by you. These Terms do not obligate you to perform any Services unless and until a Work Order
has become binding on you in accordance with Section 1.a.




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2.    Personnel Performing Services; Relationship of the Parties; Transportation
Authority; Vehicles; License of Equipment.

       a.      Personnel Performing Services; Relationship of the Parties.

               i.      Each driver, cyclist, walker, and other Personnel provided by you to
perform the Services will: (i) have such credentials (e.g., background investigation or references
and drug screening), skills, training and expertise as are required by Law, the Program Policies
and each applicable Work Order and otherwise be suitable and appropriate to perform the Services;
and (ii) have satisfactorily completed your delivery person training program (as applicable) and
any other vetting process that you have established prior to providing any Services to or on behalf
of Amazon. You will not permit any of your Personnel who at any time fails to satisfy the
requirements of this Section 2.a to provide Services directly or indirectly for or on behalf of
Amazon. Further, upon receipt of a written notice (which may be by email) from Amazon
specifying that any of your Personnel has failed to satisfy the requirements of this Section 2.a, you
will not permit such Personnel to provide Services directly or indirectly for or on behalf of
Amazon.

                ii.      You are an independent contractor of Amazon. As between Amazon and
you, you have exclusive responsibility for your Personnel and exclusive control over your policies
relating to wages, fees and other compensation, hours, and working conditions. You have the
exclusive right to hire, engage, transfer, suspend, lay off, recall, promote, discipline, discharge and
adjust grievances with your Personnel. Your Personnel are not eligible to participate in any
employee benefit plans or other benefits available to employees of Amazon or any of its Affiliates.
Neither you nor any of your Personnel has any authority to bind Amazon or any of its Affiliates to
any agreement or obligation.

        b.     Transportation Authority. During the Term (as defined in Section 8.a), you will
obtain and maintain all motor carrier and other transportation related authorities, permits, and
registrations with Governmental Authorities (including, without limitation, those relating to the
transportation of alcohol products) as are required to perform the Services under these Terms, the
Program Policies, and each applicable Work Order.

        c.     Vehicles. You will provide, operate, maintain and be responsible for, at your
expense, all vehicles (including bicycles) required to perform the Services under these Terms, the
Program Policies, and each applicable Work Order (each, a “Vehicle”, and collectively, the
“Vehicles”), and you will keep the Vehicles in good working order in accordance with the
manufacturer’s recommendations. You agree that, if required by Law, all such Vehicles will
display any applicable registration numbers and will satisfy all applicable safety, speed, hours of
service and other requirements imposed by Law.

       d.      License of Equipment.

               i.    As used in these Terms: (A) “Equipment” means, collectively, Hardware
and Licensed Materials; (B) “Hardware” means handheld communication devices/scanners and all
associated equipment furnished to you by Amazon, together with any related manuals and other




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documentation; and (C) “Licensed Materials” means any software (including, without limitation,
any scanning and delivery application), content or other information furnished to you (whether
standalone or for use on Hardware, on devices owned by you, or otherwise) by Amazon, together
with any related manuals and other documentation.

                ii.     Amazon grants to you, during the Term, a limited, non-exclusive, non-
transferable, non-sublicensable, revocable license to use the Equipment in each country in which
you provide the Services, solely for the purpose of performing the Services. You will provide all
other equipment necessary for the performance of the Services at your own expense. You will not,
in whole or in part: (A) copy the Equipment; (B) distribute copies of the Equipment or any part of
the Equipment to any third party; (C) modify, adapt, translate, reverse engineer, make alterations
to, decompile, disassemble or make derivative works based on the Equipment or any part of the
Equipment; (D) rent, loan, sublicense, lease, distribute or attempt to grant other rights to the
Equipment or any part of the Equipment to third parties; (E) permit remote access to the Equipment
by any third party; or (F) use the Equipment other than to perform the Services. You will require
all of your Personnel using the Equipment to attend the training specified by Amazon, including
for updates and periodic refresher training. You will keep all Hardware in good repair, good
operating condition and working order and in compliance with the manufacturer’s specifications
and will furnish all Hardware to Amazon for maintenance, service and repair as specified by
Amazon. You will not make any additions, attachments, alterations or improvements to Hardware
without the prior written consent of Amazon. If any Hardware or part of any Hardware is lost,
stolen, unreturned, damaged, sold, transferred, leased, encumbered or assigned without the express
prior written consent of Amazon, you will promptly pay Amazon the full replacement cost of the
Hardware, together with any incidental costs that are incurred by Amazon to replace the Hardware.

            iii. AMAZON LICENSES THE EQUIPMENT TO YOU “AS IS” AND
MAKES NO WARRANTIES OF ANY KIND REGARDING THE EQUIPMENT, INCLUDING,
BUT NOT LIMITED TO, THE DESIGN, OPERATION OR CONDITION OF, OR THE
QUALITY OF THE MATERIAL, COMPONENTS OR WORKMANSHIP IN, THE
EQUIPMENT. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
AMAZON EXPRESSLY DISCLAIMS ALL WARRANTIES, WHETHER EXPRESS OR
IMPLIED, INCLUDING BUT NOT LIMITED TO WARRANTIES OF MERCHANTABILITY,
NONINFRINGEMENT, TITLE OR FITNESS FOR A PARTICULAR PURPOSE. AMAZON
DOES NOT WARRANT THAT THE EQUIPMENT WILL MEET YOUR REQUIREMENTS
OR WILL OPERATE UNINTERRUPTED, ERROR FREE OR PROVIDE ACCURATE,
COMPLETE OR UP-TO-DATE INFORMATION. AMAZON WILL NOT BE RESPONSIBLE
FOR ANY LOSS, DAMAGE OR CLAIM CAUSED BY OR ATTRIBUTABLE TO ANY
DEFECT OR DEFICIENCY IN ANY EQUIPMENT WHETHER ARISING OUT OF THE
EQUIPMENT’S MANUFACTURE, DESIGN OR OTHERWISE.

               iv.    Amazon will defend and indemnify you from any loss, damage, cost, and
expense (including reasonable attorneys’ fees and expenses) arising out of any claim, action or
proceeding brought by a third party (each, a “Third-Party Claim”) alleging that your use of the
Equipment as authorized under this Section 2.d infringes or misappropriates any third-party patent,
copyright, trademark, trade secret or other intellectual property rights (collectively, “Third-Party
Proprietary Rights”). Amazon will have sole control of the defense of any Third-Party Claim, and




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you will cooperate (at Amazon’s expense) with Amazon in the defense. Amazon’s obligation to
indemnify under this Section 2.d(iv) will not apply to the extent that any Equipment infringes or
misappropriates any Third-Party Proprietary Rights as a result of (A) any modification of or to the
Equipment made by you or any of your Personnel, (B) use of the Equipment by you or any of your
Personnel other than as contemplated by this Section 2.d, or (C) the combination of the Equipment
with other products or services.

3.     Fees.

        a.      Amazon will pay you in accordance with the rate structure included in each
applicable Work Order or that is otherwise agreed between the parties pursuant to the functionality
of the Site. Except as provided in any Work Order or otherwise on the Site, the rate structure will
not be subject to adjustment in the event that delivery volumes, number of stops, time per stop or
between stops, distances traveled, labor or vehicle costs or any other forecast or assumption with
respect to a Planned Route differs in any respect from the forecasts and assumptions used to set
the rate structure set out in any Work Order or otherwise on the Site. Except as provided in any
Work Order or otherwise on the Site, you will be entitled to no compensation or reimbursement of
any expenses for performing the Services.

       b.     Amazon may (i) deduct from and offset against any amounts owing by Amazon to
you under these Terms or any Work Order any sums payable by you to Amazon, or (ii) invoice
you for such amounts due Amazon and you will pay Amazon invoiced amounts upon receipt of
such invoice.

        c.     You acknowledge that, depending on the jurisdiction in which the Services are
provided and the program to which the Services relate, an Amazon customer may be able during
order checkout, at the customer’s option, to provide that an e-tip be directed toward the delivery
person and/or the persons responsible for fulfilling orders (the “Tips”). If applicable, Amazon will
distribute to you all Tips collected in connection with applicable deliveries made by your
Personnel, and you agree to distribute all such Tips to your Personnel in accordance with applicable
Law.

4.      Invoicing. Unless otherwise directed by Amazon, you will provide weekly invoices (at no
charge) in a form acceptable to Amazon. Each invoice will include at least the following data in
addition to any other itemized data reasonably requested by Amazon: service date, service type,
number of Planned Routes per Service Area by shift (if applicable), and total cost. At Amazon’s
request, you will issue separate invoices for each account established under these Terms or any
Work Order. The payment obligation under each invoice is a separate obligation of the account to
which the invoiced Services were provided pursuant to the applicable Work Order, and no other
account has any obligation under such invoice or Work Order. Amazon will pay, or cause to be
paid, all undisputed portions of your properly submitted invoices within 30 days of receipt.
Amazon has no obligation to pay, or cause to be paid, any fees or expenses invoiced more than
three months after the applicable Services are performed, and you waive any claim for payment of
amounts not invoiced within that three-month period. Amazon or its designee may conduct invoice
audits to verify accuracy. Discrepant invoices will be rejected or short paid with appropriate




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explanation of the discrepancy. The parties will use their commercially reasonable efforts to
resolve any disputes promptly.

5.     Representations, Warranties and Covenants.

        a.     You represent and warrant to Amazon that you are a legal business entity duly
formed, validly existing and in good standing under the Laws of the jurisdiction of your formation
and that you have all requisite right, power and authority to enter into, and perform your obligations
under, these Terms and each Work Order.

       b.      In addition to any compliance obligations set forth in these Terms, you are solely
responsible for any and all obligations owed to your Personnel pursuant to applicable Law and for
the management of your Personnel and promptly investigating and resolving all workplace
complaints made by your Personnel.

        c.      You acknowledge that Amazon’s Code of Business Conduct and Ethics posted at
http://phx.corporate-ir.net/phoenix.zhtml?c=97664&p=irol-govConduct (the “Code”) prohibits
the paying of bribes to anyone for any reason, whether in dealings with Governmental Authorities
or the private sector. You will not violate or knowingly permit anyone to violate the Code’s
prohibition on bribery or any applicable anti-corruption Laws. Amazon may immediately
terminate or suspend performance under these Terms if you breach this Section. You will maintain
true, accurate and complete books and records concerning any payments made by you to any other
person or entity in connection with the performance of the Services, including any such payments
made on behalf of Amazon. Amazon and its designated representatives may inspect your books
and records to verify such payments and for compliance with this Section and the Code.

        d.      You will: (i) perform the Services in a competent and workmanlike manner in
accordance with the level of professional care customarily observed by highly skilled professionals
rendering similar services; (ii) not violate or infringe any third party’s right in proprietary or
confidential information in performing the Services; (iii) comply with all Laws pertaining to the
Services, including without limitation all Laws applicable to transport, health and safety; (iv) hold
and comply with all applicable licenses and permits required by Governmental Authorities in
performing the Services; (v) notify Amazon as soon as possible of any event or circumstance that
impairs the safety of or delays delivery of Deliverables, and use an acceptable industry standard
of care in the protection of the Deliverables; (vi) at all times have sufficient equipment, Personnel
and resources available to perform the Services (and, in any case in which you believe, in your
reasonable business judgment, that you do not have sufficient equipment, Personnel and resources
available to perform the Services, you will immediately notify Amazon); (vii) comply, at your sole
cost and expense, with any social compliance and product safety requirements specified by
Amazon, including Amazon’s Supplier Code of Standards and Responsibilities posted at
http://www.amazon.com/gp/help/customer/display.html?ie=UTF8&nodeId=200885140
(collectively, “Compliance Requirements”), and permit, as requested by Amazon from time to
time, Amazon’s designee to audit your compliance with any Compliance Requirements, and you
will implement any corrective actions required by Amazon resulting from such audits at your
expense; and (vii) not have any lien on Amazon property or assets, including any Deliverables or




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any documents relating to any Deliverables, and you waive all rights to any lien upon any shipment
or related documents on behalf of yourself and any third party engaged by you.

        e.       Hazardous Materials Notifications. You will notify Amazon’s dangerous goods
compliance department (at the phone number or email address designated by Amazon for this
purpose) promptly (and in any event within 24 hours) after you become aware of any (i) injury to
persons, property damage, environmental damage, fire, breakage, spillage, leakage, or any other
accident or incident involving any product defined, designated, or classified as hazardous material,
hazardous substance, or dangerous good (including limited and excepted quantities, consumer
commodity, ORM-D, lithium batteries, and radioactive and magnetic materials) under any
applicable Law and transported by you under these Terms (collectively, “Hazardous Materials”),
(ii) event or circumstance involving Hazardous Materials that violates or is reasonably likely to
violate any applicable Law, or (iii) investigation of any shipment containing Hazardous Materials
by any governmental agency or authority.

6.       Claims for Loss or Damage. You will be liable for Delay, loss or damage to Deliverables
occurring while such Deliverables are in the care, custody or control of you and/or your Personnel
in an amount equal to the actual cost of the Delayed, lost or damaged Deliverables, including the
replacement cost of the Deliverables and direct costs associated with the original packaging,
handling, and shipping (including the costs of packaging, handling and shipping the replacement).
Claims for Delayed, lost or damaged Deliverables may be based upon Amazon’s manifest, may
be initiated electronically (including via email), and may be filed at any time within 120 days after
the Deliverable was tendered to you. You will acknowledge all claims within 30 days of receipt
and will process all claims to conclusion and pay or credit the applicable account within 60 days
of receipt. You will cooperate with Amazon’s loss prevention and investigative personnel in the
conduct of investigations related to fraud, theft and other matters of mutual concern.

7.      Insurance. You will, at all times during which you provide the Services and for at least
two years after all Services are completed, carry, at your expense, the types of insurance and
minimum limits of insurance, in each case, that are specified in the Program Policies, each
applicable Work Order, or otherwise on the Site. You will submit certificates of insurance
evidencing required insurance coverages to Amazon through the Site or by such other means
specified by Amazon prior to the commencement of the Services and at each policy renewal
thereafter. You consent to Amazon disclosing your certificates of insurance or other information
to third parties for the purpose of verifying your compliance with this Section 7.

8.     Term and Termination.

       a.      Term and Termination. The term of these Terms will begin on the Effective Date
and will continue until terminated in accordance with this Section 8.a (the “Term.”). Either party
may terminate these Terms at any time, with or without cause, by providing the other party with
30 days’ prior written notice. If the term of any Work Order extends beyond the Term, these
Terms will survive for the purposes of that Work Order until the termination of that Work Order.

        b.      No Damages for Termination. Amazon will not be liable, on account of termination
or expiration of these Terms, for loss of goodwill, prospective profits or anticipated orders. Unless




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specifically provided in any Work Order, Amazon will not be liable, on account of termination of
these Terms or any Work Order, for any expenditures, investments, leases or commitments made
by you under these Terms or any Work Order or for any other reason. You acknowledge and agree
that you have no expectation, and that you have not received any assurances from Amazon or any
other person, that your business relationship with Amazon will continue beyond the Term.

       c.     Transition Assistance. In connection with the termination or expiration of these
Terms or any Work Order for any reason, you will provide reasonable assistance to Amazon in
order to enable and facilitate an orderly transition of the Services to Amazon or a third party
designated by Amazon.

9.     Indemnification.

        a.      You will defend, indemnify and hold harmless Amazon and its Affiliates and
successors, and each of their respective directors, officers and employees (each an “Indemnified
Party” and, collectively, the “Indemnified Parties”) from any third-party allegation or claim based
on, or any loss, damage, settlement, cost, expense and any other liability (including but not limited
to reasonable attorneys’ fees and expenses) arising out of or in connection with, (i) any allegation
or claim of negligence, strict liability or misconduct of you or your Personnel, (ii) a breach of these
Terms, the Program Policies, or any Work Order by you or your Personnel, (iii) any action or
inaction by you or any of your Personnel (including, without limitation, any and all loss or damage
to personal property or bodily harm (including death)), or (iv) any allegation or claim that you or
any of your Personnel failed to comply with applicable Law. However, the foregoing
indemnification obligation does not apply to the extent that any claim subject to indemnification
results from the negligence or willful misconduct of the Indemnified Parties.

        b.      Your duty to defend is independent of your duty to indemnify. Your obligations
under this Section are independent of any of your other obligations under these Terms. You will
use counsel reasonably satisfactory to the Indemnified Parties to defend each indemnified claim,
and the Indemnified Parties will cooperate (at your expense) with you in the defense. You will
not consent to the entry of any judgment or enter into any settlement without the Indemnified
Parties’ prior written consent.

10.    Confidentiality; Customer Information; Work Product.

         a.     You will at all times comply with the terms of any nondisclosure agreement
executed or otherwise agreed to by you in favor of Amazon and/or its Affiliates (an “NDA”). If
no NDA exists, you and your representatives will (i) protect and keep confidential the existence of
these Terms (including all Work Orders), their terms and conditions, and any other information
obtained from Amazon or any of its representatives that is identified as confidential or proprietary
or that, given the nature of such information or the manner of its disclosure, reasonably should be
considered confidential or proprietary (including, without limitation, all information relating to
Amazon’s technology, customers (including Customer Information (as defined below)), business
plans, marketing activities, and finances) (collectively, “Confidential Information”), (ii) use
Confidential Information solely for the purpose of providing Services, and (iii) return all
Confidential Information to Amazon promptly following a request from Amazon. All Confidential




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Information will remain Amazon’s exclusive property, and you will have no rights to use
Confidential Information except as expressly provided in an NDA or these Terms.

       b.      If you are required by any Governmental Authority to disclose the contents of any
Deliverable, you will promptly provide Amazon with notice of such requirement. In such
instances, you will use commercially reasonable efforts to (i) ensure that any items removed from
a container are promptly put back into the container following the relevant Government
Authority’s inspection, and (ii) provide Amazon with an audit against the manifest for such items.

        c.      Except as expressly set forth in these Terms, the Program Policies, or any Work
Order, you will not use any trade name, trademark, service mark, logo or commercial symbol, or
any other proprietary rights of Amazon or any of its Affiliates in any manner (including but not
limited to use in any client list, press release, advertisement or other promotional material) without
the prior written authorization of such use by a Vice President of Amazon. Without the prior
written authorization by a Vice President of Amazon, you will not make any public announcement
or other statement (including, without limitation, a press release, response to a media query,
advertisement, or other promotional material) in which you refer to Amazon or its Affiliates, these
Terms, any Work Order, the Services, or any Confidential Information.

        d.      You will, and will cause your Personnel to, use all personally identifiable
information concerning Amazon’s customers, including names and addresses (collectively,
“Customer Information”), solely for the purpose of providing Services. You will comply with all
instructions of Amazon in respect of the processing of Customer Information, and you will
maintain appropriate technical and organizational security measures to prevent unauthorized use
or disclosure of Customer Information. All Customer Information is and will remain the exclusive
property of Amazon, and you will not transfer, rent, barter, trade or sell Customer Information and
will not develop lists of or aggregate Customer Information. Except as otherwise required by
applicable Law, you will, and will cause your Personnel to, delete all instances (including backups
and other copies) of Customer Information associated with each shipment within two weeks after
completing the shipment. Before disposing of any hardware, media or software (including any
sale or transfer of such material or any disposition of your business) that contains or previously
contained Customer Information, at Amazon’s direction, you will either return such hardware,
media or software to Amazon, or perform a complete forensic destruction of the Customer
Information (which may include a physical destruction, preferably incineration, or secure data
wipe) such that no Customer Information can be recovered or retrieved. For the avoidance of
doubt, the contents of Deliverables tendered by Amazon to you are Customer Information subject
to this Section 10.

        e.     The parties agree that, between the parties, any information or data arising out of
or in connection with the Services, including without limitation any Amazon customer data or
Customer Information and any data, analysis or other work specifically commissioned by Amazon
and agreed to by you (collectively, “Work Product”), is owned by Amazon. For purposes of these
Terms, Work Product does not include: (a) any inventions or developments made by you and
existing prior to the Effective Date; or (b) any inventions or developments developed entirely
independently by you, at any time, without any use, knowledge of, or reference to, the Confidential
Information. The Work Product has been specially ordered and commissioned by Amazon. You




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agree that the Work Product is a “work made for hire” for copyright purposes, with all copyrights
in the Work Product owned by Amazon. To the extent that the Work Product does not qualify as
a work made for hire under applicable Law, and to the extent that the Work Product includes
material subject to copyright, trade secret, or other proprietary rights protection, you hereby assign
to Amazon (or to such of its Affiliates as it may designate), its successors and assigns, all right,
title and interest in and to the Work Product. To the extent necessary to effect this assignment,
you will execute any documents that Amazon reasonably requests. At any time upon request from
Amazon and upon termination or expiration of these Terms, you will deliver to Amazon in tangible
form all materials containing Work Product, whether complete or in process. All Work Product
will be Confidential Information that is subject to this Section 10.

11.    Defined Terms.

        a.      “Affiliate” means, with respect to any entity, any person or other entity that directly
or indirectly controls, is controlled by, or is under common control with, such first entity.

        b.    “Amazon Contracting Party” means: (i) if the Services are provided in the United
States, Amazon Logistics, Inc.; or (ii) if the Services are provided in the United Kingdom, Amazon
UK Services Ltd.

        c.     “Chosen Courts” means: (i) if the Services are provided in the United States, the
federal and state courts in King County, Washington; or (ii) if the Services are provided in the
United Kingdom, the courts in England and Wales.

        d.     “Delay” means, with respect to any Deliverable, that such Deliverable was not
delivered within the delivery window specified by Amazon.

       e.      “Deliverables” means parcels, totes or other deliverables tendered by Amazon to
you or any of your Personnel.

       f.      “Governing Laws” means: (i) if the Services are provided in the United States, the
laws of the State of Washington; or (ii) if the Services are provided in the United Kingdom, the
laws of England and Wales.

        g.     “Governmental Authority” means any governmental, quasi-governmental or
regulatory authority, body, department, commission, board, bureau, agency, division, court,
securities exchange or other legislative, executive or judicial governmental entity or
instrumentality, whether foreign or domestic, of any country, nation, state, county, parish or
municipality, jurisdiction or other political subdivision.

       h.      “Law” means any national, federal, state, local or foreign statute, common law,
ordinance, rule, regulation, order, judgment or agency requirement of, or issued, promulgated or
entered into with, any Governmental Authority.

       i.      “Personnel” means, with respect to any party, such party’s employees, agents,
representatives, and subcontractors. For the avoidance of doubt, your Personnel will include any
individual assigned by you to perform the Services.




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         j.     “Planned Route” means a number of Deliverables in a given area that Amazon plans
for a single person and/or Vehicle for delivery on a specific shift and day and that in turn is assigned
by you to a specific person and/or Vehicle for delivery on a specific shift and day.

       k.     “Program Policies” means any terms, conditions, policies, guidelines and other
information of which you are notified in accordance with Section 12.c or that are referenced in
these Terms or posted on the Site.

       l.     “Service Area” means the zip codes, cities, geographies or other areas with respect
to which you provide the Services, as specifically defined in a Work Order.

       m.     “Site” means the Amazon Delivery Provider website (or any successor or related
website designated by Amazon).

        n.      “Taxes” means those applicable sales or use taxes or value added taxes that you are
legally obligated to charge.

12.    Miscellaneous.

        a.      You will not assign any of your rights or obligations under these Terms or any
Work Order without Amazon’s prior written consent. Any attempt by you to assign, subcontract
or delegate in violation of this Section will be null and void.

        b.      These Terms and the Work Orders are governed by the applicable Governing Laws,
excluding any conflict of laws rules. You irrevocably submit to venue and exclusive jurisdiction
in the applicable Chosen Courts for any dispute arising out of or relating to these Terms, any Work
Order or the Services, and you waive all objections to jurisdiction and venue of the applicable
Chosen Courts.

        c.       Notices to you under these Terms may be provided by (i) posting a notice on the
Site, or (ii) sending a message to the email address then associated with your account. Notices
provided by posting on the Site will be effective upon posting, and notices provided by email will
be effective when sent by Amazon. It is your responsibility to keep your email address current,
and you will be deemed to have received any email sent to the email address then associated with
your account when Amazon sends the email, whether or not you actually receive it. Notices to
Amazon under these Terms may be provided by (A) facsimile transmission to the number stated
in the Program Policies or any applicable Work Order, or (B) pre-paid post requiring signature on
receipt or personal delivery to the address stated in the Program Policies or any applicable Work
Order. Amazon may update the facsimile number and/or address for notices to Amazon by posting
a notice on the Site. Notices to Amazon will be deemed effective when delivered in person, when
delivered by pre-paid post, or when received by facsimile.

       d.     If any provision of these Terms, the Program Policies, or any Work Order is
determined to be unenforceable, the parties intend that these Terms, the Program Policies, or the
Work Order (as applicable) be enforced as if the unenforceable provisions were not present and




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that any partially valid and enforceable provisions be enforced to the extent that they are
enforceable.

        e.      A party does not waive any right under any provision of these Terms, the Program
Policies, or any Work Order by failing to insist on compliance with, or by failing to exercise any
right under, the applicable provision. Any waivers granted under these Terms, the Program
Policies, or any Work Order are effective only if recorded in a writing signed by the party granting
such waiver. The rights and remedies of the parties under these Terms, the Program Policies, and
any Work Order are cumulative and are not exclusive, and either party may enforce any of its
rights or remedies under these Terms, the Program Policies, or any Work Order or other rights and
remedies available to it at law or in equity. The Section headings of these Terms are for
convenience only and have no interpretive value.

       f.     The following provisions, along with any other provisions that by their nature
should survive termination or expiration of these Terms, will survive: Sections 4, 6, 7, 8.b, 8.c,
and 9-12.

       g.     You acknowledge that any breach of these Terms, the Program Policies, or any
Work Order by you or any of your representatives would cause irreparable harm to Amazon for
which Amazon has no adequate remedies at law. Accordingly, Amazon is entitled to specific
performance or injunctive relief for any breach of these Terms, the Program Policies, or any Work
Order by you or any of your representatives without the necessity of proving damages or posting
bond.

        h.     Except for your indemnity obligations under Section 9 and liability arising out of
your breach of Section 10, neither party will be liable under any circumstances for lost
opportunities or profits, consequential, special, punitive, incidental or indirect damages of any
kind. Nothing in these Terms shall limit or exclude either party's liability for any matter that may
not be limited or excluded by applicable Law.

        i.      You may charge and Amazon will pay Taxes invoiced by you, provided that those
Taxes are stated on the original invoice that you provide to Amazon and your invoices state those
Taxes separately and meet the appropriate tax requirements for a valid tax invoice, if any. Amazon
may provide you an exemption certificate acceptable to the relevant taxing authority, in which
case, you will not collect the Taxes covered by the certificate. You will be responsible for all other
taxes (including interest and penalties) or fees arising from transactions and the documentation of
transactions under these Terms and any Work Order. Amazon will maintain the right to deduct or
withhold any taxes that Amazon determines it is obligated to withhold from any amounts payable
to you under these Terms or any Work Order, and payment to you as reduced by such deductions
or withholdings will constitute full payment and settlement to you of all amounts payable to you
under these Terms or any Work Order. You will provide Amazon with any forms, documents, or
certifications as may be required for Amazon to satisfy any information reporting or withholding
tax obligations with respect to any payments under these Terms or any Work Order.

      j.     These Terms (together with the Program Policies, which are incorporated in these
Terms by this reference), any Work Orders, and any NDA constitute the complete and final




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agreement of the parties pertaining to the Services and supersede and replace the parties’ prior
agreements, understandings, representations and discussions (whether written or oral) relating to
the Services.

        k.      Amazon may modify these Terms (including any Program Policies) at any time by
posting a revised version on the Site or by otherwise notifying you in accordance with Section
12.c. The modified Terms will become effective upon posting or, if Amazon notifies you by email,
as stated in the email message. By continuing to provide the Services after the effective date of
any modification to these Terms, you agree to be bound by the modified Terms. It is your
responsibility to check the Site regularly for modifications to these Terms.

       l.      The parties may use standard business forms or other communications, but use of
such forms is for convenience only and does not alter the provisions of these Terms. NEITHER
PARTY WILL BE BOUND BY, AND EACH SPECIFICALLY OBJECTS TO, ANY
PROVISION THAT IS DIFFERENT FROM OR IN ADDITION TO THESE TERMS
(WHETHER PROFFERED VERBALLY OR IN ANY QUOTATION, INVOICE, BILL OF
LADING,         SHIPPING        DOCUMENT,            ACCEPTANCE,            CONFIRMATION,
CORRESPONDENCE, OR OTHERWISE).

         m.     You will not be liable for your failure or delay in fulfilling your obligations under
these Terms, the Program Policies, or any Work Order if such failure or delay is caused by fire,
flood, weather conditions or other Acts of God, invasions, riots, closing of public highways, civil
unrest, war, or acts of terrorism or any circumstance beyond your reasonable control and without
fault or negligence on your part (“Force Majeure”); provided, that (i) you will promptly notify
Amazon in writing of the occurrence and details of any event of Force Majeure that has caused, or
is likely to cause, you to either delay or fail to perform your obligations under these Terms or any
Work Order, and (ii) you will use reasonable efforts to overcome or limit the effects of any such
event of Force Majeure on Amazon. If the service interruption caused by the Force Majeure
continues for 30 days, either party will have the right to terminate any affected Work Order with
respect to the Services not being performed by giving the other party 24 hours’ prior written notice.
To be effective, such notice must be delivered during the service interruption.

        n.     If there is a conflict among these Terms, the Program Policies, and any Work Order,
the Program Policies will prevail over these Terms and the Work Order, and the Work Order will
prevail over these Terms.




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                          EXHIBIT 3

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                                                       First Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This First Amendment to Work Order (this “First Amendment”) is effective as of September 30,
            2015, and amends that certain Work Order, dated as of September 2, 2015 (the “Work Order”), by and
            between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware
            corporation (“Amazon”). All capitalized terms used and not defined in this First Amendment have the
            respective meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed
            on the Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to
            time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this First Amendment and the terms of the Work Order, the terms of this First Amendment will control.

                                                      [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this First Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to First Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $111.00             $5.00           $116.00
                                 6.5 hours             $169.00             $5.00           $174.00
                                 8.5 hours             $227.00             $5.00           $232.00
                                 10.5 hours            $285.00             $5.00           $290.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




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                          EXHIBIT 4

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                                                      Second Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Second Amendment to Work Order (this “Second Amendment”) is effective as of October 19,
            2015, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Second Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Second Amendment and the terms of the Work Order, the terms of this Second Amendment will
            control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Second Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                         [Signature Page to Second Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $111.00             $5.00           $116.00
                                 6.5 hours             $169.00             $5.00           $174.00
                                 8.5 hours             $227.00             $5.00           $232.00
                                 10.5 hours            $285.00             $5.00           $290.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UCA6               4.5 hours             $75.00              $5.00           $80.00
                                 6.5 hours             $115.00             $5.00           $120.00
                                 8.5 hours             $155.00             $5.00           $160.00
                                 10.5 hours            $195.00             $5.00           $200.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




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                          EXHIBIT 5

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                                                       Third Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Third Amendment to Work Order (this “Third Amendment”) is effective as of October 19,
            2015, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, and the Second Amendment to Work Order,
            dated as of October 19, 2015 (the “Work Order”), by and between Scoobeez, Inc., a California corporation
            (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and
            not defined in this Third Amendment have the respective meanings assigned to such terms in the Delivery
            Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be
            amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule A. Schedule A to the Work Order is hereby deleted in its entirety
            and replaced with Schedule A attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Third Amendment and the terms of the Work Order, the terms of this Third Amendment will control.

                                                      [Signature Page Follows]




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                                 Main Document    Page  55 of 184
                                                   Page 47 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Third Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to Third Amendment to Work Order]



                                                     Exhibit A - page 55
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
           Case2:19-bk-14989-WB
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                                 Main Document    Page  56 of 184
                                                   Page 48 of 168


                                                             Schedule A

                                                              Policies

            Your Personnel; No Subcontractors.

            Except as otherwise provided in this Work Order, (a) you will hire and employ all drivers, cyclists, walkers,
            and other Personnel who are assigned by you to perform the Services under this Work Order, and (b) you
            will not engage subcontractors to perform the Services without the prior written consent of Amazon.

            Tips.

            Without limiting the generality of Section 3(c) of the Terms, which requires you to distribute all Tips to
            your Personnel in accordance with applicable Law, you will distribute each Tip to your specific Personnel
            who delivered the shipment to which the Tip relates in accordance with the disbursement report derived
            from Amazon’s systems and furnished to you by Amazon.




                                                     Exhibit A - page 56
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                 Main Document    Page  57 of 184
                                                   Page 49 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $129.00             $5.00           $134.00
                                 6.5 hours             $196.00             $5.00           $201.00
                                 8.5 hours             $263.00             $5.00           $268.00
                                 10.5 hours            $330.00             $5.00           $335.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UCA6               4.5 hours             $75.00              $5.00           $80.00
                                 6.5 hours             $115.00             $5.00           $120.00
                                 8.5 hours             $155.00             $5.00           $160.00
                                 10.5 hours            $195.00             $5.00           $200.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 57
Case2:19-bk-14989-WB
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                          EXHIBIT 6

                            Exhibit A - page 58
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
           Case2:19-bk-14989-WB
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                                 Main Document    Page  59 of 184
                                                   Page 51 of 168


                                                      Fourth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Fourth Amendment to Work Order (this “Fourth Amendment”) is effective as of January 17,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, and the Third Amendment to Work Order, dated as of October 19, 2015 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Fourth Amendment
            have the respective meanings assigned to such terms in the Delivery Provider Terms of Service to which
            you agreed on the Delivery Provider Platform (as the same may be amended, modified, or supplemented
            from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fourth Amendment and the terms of the Work Order, the terms of this Fourth Amendment will
            control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 59
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                                                   Page 52 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fourth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                         [Signature Page to Fourth Amendment to Work Order]




                                                     Exhibit A - page 60
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
           Case2:19-bk-14989-WB
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                                                   Page 53 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $129.00             $5.00           $134.00
                                 6.5 hours             $196.00             $5.00           $201.00
                                 8.5 hours             $263.00             $5.00           $268.00
                                 10.5 hours            $330.00             $5.00           $335.00
              UCA3, UCA4,        4.5 hours             $86.04              $5.00           $91.04
              UCA5, and          6.5 hours             $131.56             $5.00           $136.56
              UCA6               8.5 hours             $174.08             $5.00           $182.08
                                 10.5 hours            $222.60             $5.00           $227.60
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 61
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                          EXHIBIT 7

                            Exhibit A - page 62
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case2:19-bk-14989-WB
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                                  Main Document    Page  63 of 184
                                                    Page 55 of 168


                                                       Fifth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Fifth Amendment to Work Order (this “Fifth Amendment”) is effective as of February 14,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, and the Fourth
            Amendment to Work Order, dated as of January 17, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Fifth Amendment have the respective meanings assigned
            to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery Provider
            Platform (as the same may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fifth Amendment and the terms of the Work Order, the terms of this Fifth Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 63
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fifth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to Fifth Amendment to Work Order]



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DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case2:19-bk-14989-WB
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                                  Main Document    Page  65 of 184
                                                    Page 57 of 168


                                                             Schedule B

                                                         Distribution Points

                 1. UCA1 – San Francisco, CA

                 2. UCA3 – Los Angeles, CA

                 3. UCA4 – Irvine, CA

                 4. UCA5 – Los Angeles, CA

                 5. UCA6 – San Diego, CA

                 6. UCA8 – Berkeley, CA

                 7. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 65
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
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                                  Main Document    Page  66 of 184
                                                    Page 58 of 168


                                                             Schedule C

                                                      Fees Payable by Amazon

            Prime Now

              Distribution       Duration of            Fees for Services   Uniform and     Total (per
              Point              Planned Route          (per Planned        Vehicle Brand   Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00           $107.00
                                 6.5 hours              $155.50             $5.00           $160.50
                                 8.5 hours              $209.00             $5.00           $214.00
                                 10.5 hours             $262.50             $5.00           $267.50
              UCA3, UCA4,        4.5 hours              $86.04              $5.00           $91.04
              UCA5, and          6.5 hours              $131.56             $5.00           $136.56
              UCA6               8.5 hours              $177.08             $5.00           $182.08
                                 10.5 hours             $222.60             $5.00           $227.60
              UCA8               4.5 hours              $97.60              $5.00           $102.60
                                 6.5 hours              $148.90             $5.00           $153.90
                                 8.5 hours              $200.20             $5.00           $205.20
                                 10.5 hours             $251.50             $5.00           $256.50
              UNV1               4.5 hours              $73.00              $5.00           $78.00
                                 6.5 hours              $112.00             $5.00           $117.00
                                 8.5 hours              $151.00             $5.00           $156.00
                                 10.5 hours             $190.00             $5.00           $195.00




                                                     Exhibit A - page 66
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                          EXHIBIT 8

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                                 Main Document    Page  68 of 184
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                                                       Sixth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Sixth Amendment to Work Order (this “Sixth Amendment”) is effective as of February 19,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, and the Fifth Amendment to Work Order, dated
            as of February 14, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation
            (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and
            not defined in this Sixth Amendment have the respective meanings assigned to such terms in the Delivery
            Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be
            amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Sixth Amendment and the terms of the Work Order, the terms of this Sixth Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 68
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Sixth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to Sixth Amendment to Work Order]




                                                     Exhibit A - page 69
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
           Case2:19-bk-14989-WB
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                                 Main Document    Page  70 of 184
                                                   Page 62 of 168


                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UCA8 – Berkeley, CA

                7. UIL1 – Chicago, IL

                8. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 70
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00           $107.00
                                 6.5 hours             $155.50             $5.00           $160.50
                                 8.5 hours             $209.00             $5.00           $214.00
                                 10.5 hours            $262.50             $5.00           $267.50
              UCA3, UCA4,        4.5 hours             $86.04              $5.00           $91.04
              UCA5, and          6.5 hours             $131.56             $5.00           $136.56
              UCA6               8.5 hours             $177.08             $5.00           $182.08
                                 10.5 hours            $222.60             $5.00           $227.60
              UCA8               4.5 hours             $97.60              $5.00           $102.60
                                 6.5 hours             $148.90             $5.00           $153.90
                                 8.5 hours             $200.20             $5.00           $205.20
                                 10.5 hours            $251.50             $5.00           $256.50
              UIL1               4.5 hours             $88.56              $5.00           $93.56
                                 5.5 hours             $111.95             $5.00           $116.95
                                 6.5 hours             $135.34             $5.00           $140.34
                                 8.5 hours             $182.12             $5.00           $187.12
                                 9.5 hours             $205.51             $5.00           $210.51
                                 10.5 hours            $228.90             $5.00           $233.90
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 71
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                          EXHIBIT 9

                            Exhibit A - page 72
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                 Main Document    Page  73 of 184
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                                                    Seventh Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Seventh Amendment to Work Order (this “Seventh Amendment”) is effective as of April 10,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, and the Sixth Amendment to Work Order, dated as of February 19, 2016 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Seventh Amendment
            have the respective meanings assigned to such terms in the Delivery Provider Terms of Service to which
            you agreed on the Delivery Provider Platform (as the same may be amended, modified, or supplemented
            from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Seventh Amendment and the terms of the Work Order, the terms of this Seventh Amendment will
            control.

                                                     [Signature Page Follows]




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DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                 Main Document    Page  74 of 184
                                                   Page 66 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Seventh Amendment.

              Amazon Logistics, Inc.                               Scoobeez, Inc.


              By:                                                  By:
              Name:                                                Name:
              Title:                                               Title:
              Date Signed: ____________________________            Date Signed: ____________________________




                                       [Signature Page to Seventh Amendment to Work Order]



                                                   Exhibit A - page 74
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                                             Schedule B

                                                       Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UCA8 – Berkeley, CA

                7. UCA9 – Sacramento, CA

                8. UIL1 – Chicago, IL

                9. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                   Fees Payable by Amazon

            Prime Now

             Distribution       Duration of          Fees for Services    Uniform and     Total (per
             Point              Planned Route        (per Planned         Vehicle Brand   Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours            $102.00              $5.00           $107.00
                                6.5 hours            $155.50              $5.00           $160.50
                                8.5 hours            $209.00              $5.00           $214.00
                                10.5 hours           $262.50              $5.00           $267.50
             UCA3, UCA4,        4.5 hours            $86.04               $5.00           $91.04
             UCA5, UCA6,        6.5 hours            $131.56              $5.00           $136.56
             and UCA9           8.5 hours            $177.08              $5.00           $182.08
                                10.5 hours           $222.60              $5.00           $227.60
             UCA8               4.5 hours            $97.60               $5.00           $102.60
                                6.5 hours            $148.90              $5.00           $153.90
                                8.5 hours            $200.20              $5.00           $205.20
                                10.5 hours           $251.50              $5.00           $256.50
             UIL1               4.5 hours            $88.56               $5.00           $93.56
                                5.5 hours            $111.95              $5.00           $116.95
                                6.5 hours            $135.34              $5.00           $140.34
                                8.5 hours            $182.12              $5.00           $187.12
                                9.5 hours            $205.51              $5.00           $210.51
                                10.5 hours           $228.90              $5.00           $233.90
             UNV1               4.5 hours            $73.00               $5.00           $78.00
                                6.5 hours            $112.00              $5.00           $117.00
                                8.5 hours            $151.00              $5.00           $156.00
                                10.5 hours           $190.00              $5.00           $195.00




                                                   Exhibit A - page 76
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                         EXHIBIT 10

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                                                     Eighth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Eighth Amendment to Work Order (this “Eighth Amendment”) is effective as of April 22,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, and the Seventh
            Amendment to Work Order, dated as of April 10, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Eighth Amendment have the respective meanings assigned
            to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery Provider
            Platform (as the same may be amended, modified, or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eighth Amendment and the terms of the Work Order, the terms of this Eighth Amendment will
            control.

                                                     [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eighth Amendment.

               Amazon Logistics, Inc.                               Scoobeez, Inc.


               By:                                                  By:
               Name:                                                Name:
               Title:                                               Title:
               Date Signed: ____________________________            Date Signed: ____________________________




                                        [Signature Page to Eighth Amendment to Work Order]



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                                                             Schedule B

                                                       Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA2 – Redondo Beach, CA

                3. UCA3 – Los Angeles, CA

                4. UCA4 – Irvine, CA

                5. UCA5 – Los Angeles, CA

                6. UCA6 – San Diego, CA

                7. UCA8 – Berkeley, CA

                8. UCA9 – Sacramento, CA

                9. UIL1 – Chicago, IL

                10. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                    Fees Payable by Amazon

            Prime Now

             Distribution       Duration of           Fees for Services   Uniform and     Total (per
             Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00           $107.00
                                6.5 hours             $155.50             $5.00           $160.50
                                8.5 hours             $209.00             $5.00           $214.00
                                10.5 hours            $262.50             $5.00           $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00           $91.04
             UCA4, UCA5,        6.5 hours             $131.56             $5.00           $136.56
             UCA6, and          8.5 hours             $177.08             $5.00           $182.08
             UCA9               10.5 hours            $222.60             $5.00           $227.60
             UCA8               4.5 hours             $97.60              $5.00           $102.60
                                6.5 hours             $148.90             $5.00           $153.90
                                8.5 hours             $200.20             $5.00           $205.20
                                10.5 hours            $251.50             $5.00           $256.50
             UIL1               4.5 hours             $88.56              $5.00           $93.56
                                5.5 hours             $111.95             $5.00           $116.95
                                6.5 hours             $135.34             $5.00           $140.34
                                8.5 hours             $182.12             $5.00           $187.12
                                9.5 hours             $205.51             $5.00           $210.51
                                10.5 hours            $228.90             $5.00           $233.90
             UNV1               4.5 hours             $73.00              $5.00           $78.00
                                6.5 hours             $112.00             $5.00           $117.00
                                8.5 hours             $151.00             $5.00           $156.00
                                10.5 hours            $190.00             $5.00           $195.00




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                         EXHIBIT 11

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                                                       Ninth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Ninth Amendment to Work Order (this “Ninth Amendment”) is effective as of May 11, 2016,
            and amends that certain Work Order, dated as of September 2, 2015, as amended by the First Amendment
            to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated as of October
            19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth Amendment to
            Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as of February 14,
            2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh Amendment to
            Work Order, dated as of April 10, 2016, and the Eighth Amendment to Work Order, dated as of April 22,
            2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon
            Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined in this
            Ninth Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms of
            Service to which you agreed on the Delivery Provider Platform (as the same may be amended, modified,
            or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Ninth Amendment and the terms of the Work Order, the terms of this Ninth Amendment will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Ninth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to Ninth Amendment to Work Order]



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                                                             Schedule B

                                                         Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. UCA1 – San Francisco, CA

                 5. UCA2 – Redondo Beach, CA

                 6. UCA3 – Los Angeles, CA

                 7. UCA4 – Irvine, CA

                 8. UCA5 – Los Angeles, CA

                 9. UCA6 – San Diego, CA

                 10. UCA8 – Berkeley, CA

                 11. UCA9 – Sacramento, CA

                 12. UIL1 – Chicago, IL

                 13. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of            Fees for Services   Uniform and     Total (per
              Point              Planned Route          (per Planned        Vehicle Brand   Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00           $107.00
                                 6.5 hours              $155.50             $5.00           $160.50
                                 8.5 hours              $209.00             $5.00           $214.00
                                 10.5 hours             $262.50             $5.00           $267.50
              UCA2, UCA3,        4.5 hours              $86.04              $5.00           $91.04
              UCA4, UCA5,        6.5 hours              $131.56             $5.00           $136.56
              UCA6, and          8.5 hours              $177.08             $5.00           $182.08
              UCA9               10.5 hours             $222.60             $5.00           $227.60
              UCA8               4.5 hours              $97.60              $5.00           $102.60
                                 6.5 hours              $148.90             $5.00           $153.90
                                 8.5 hours              $200.20             $5.00           $205.20
                                 10.5 hours             $251.50             $5.00           $256.50
              UIL1               4.5 hours              $88.56              $5.00           $93.56
                                 5.5 hours              $111.95             $5.00           $116.95
                                 6.5 hours              $135.34             $5.00           $140.34
                                 8.5 hours              $182.12             $5.00           $187.12
                                 9.5 hours              $205.51             $5.00           $210.51
                                 10.5 hours             $228.90             $5.00           $233.90
              UNV1               4.5 hours              $73.00              $5.00           $78.00
                                 6.5 hours              $112.00             $5.00           $117.00
                                 8.5 hours              $151.00             $5.00           $156.00
                                 10.5 hours             $190.00             $5.00           $195.00




                                                     Exhibit A - page 86
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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                                                                  (per Planned Route)    Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                  $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00

            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
               http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late




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                 arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
                 circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
                 hours at a rate equal to $31.00 per hour at DCH1, DCH2, and DCH3.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




                                                     Exhibit A - page 89
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                         EXHIBIT 12

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                                                        Tenth Amendment
                                                          to Work Order
                                           under the Delivery Provider Terms of Service

                     This Tenth Amendment to Work Order (this “Tenth Amendment”) is effective as of June 2, 2016,
             and amends that certain Work Order, dated as of September 2, 2015, as amended by the First Amendment
             to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated as of October
             19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth Amendment to
             Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as of February 14,
             2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh Amendment to
             Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of April 22, 2016,
             and the Ninth Amendment to Work Order, dated as of May 11, 2016 (the “Work Order”), by and between
             Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation
             (“Amazon”). All capitalized terms used and not defined in this Tenth Amendment have the respective
             meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the
             Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to time,
             the “Terms”).

                     Amazon and you agree as follows:

                     1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
             and replaced with Schedule B attached hereto.

                     2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
             and replaced with Schedule C attached hereto.

                      3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
             remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
             of this Tenth Amendment and the terms of the Work Order, the terms of this Tenth Amendment will control.

                                                       [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
             executed this Tenth Amendment.

               Amazon Logistics, Inc.                                 Scoobeez, Inc.


               By:                                                    By:
               Name:                                                  Name:
               Title:                                                 Title:
               Date Signed: ____________________________              Date Signed: ____________________________




                                           [Signature Page to Tenth Amendment to Work Order]



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                                                                Schedule B

                                                             Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. DLA3 – Commerce, CA

                 5. DLA7 – Site location TBD

                 6. DLA8 – Hawthorne, CA

                 7. DLA9 – Irvine, CA

                 8. DSD1 – San Diego, CA

                 9. DSD2 – Carlsbad, CA

                 10. DSF3 – San Jose, CA

                 11. DSF4 – San Leandro, CA

                 12. DSF5 – San Francisco, CA

                 13. DSF6 – Richmond, CA

                 14. UCA1 – San Francisco, CA

                 15. UCA2 – Redondo Beach, CA

                 16. UCA3 – Los Angeles, CA

                 17. UCA4 – Irvine, CA

                 18. UCA5 – Los Angeles, CA

                 19. UCA6 – San Diego, CA

                 20. UCA8 – Berkeley, CA

                 21. UCA9 – Sacramento, CA

                 22. UIL1 – Chicago, IL

                 23. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                      Fees Payable by Amazon

             Part I – Prime Now

              Distribution        Duration of            Fees for Services   Uniform and     Total (per
              Point               Planned Route          (per Planned        Vehicle Brand   Planned Route)
                                                         Route)              Promotion Fee
                                                                             (per Planned
                                                                             Route)
              UCA1                4.5 hours              $102.00             $5.00           $107.00
                                  6.5 hours              $155.50             $5.00           $160.50
                                  8.5 hours              $209.00             $5.00           $214.00
                                  10.5 hours             $262.50             $5.00           $267.50
              UCA2, UCA3,         4.5 hours              $86.04              $5.00           $91.04
              UCA4, UCA5,         6.5 hours              $131.56             $5.00           $136.56
              UCA6, and           8.5 hours              $177.08             $5.00           $182.08
              UCA9                10.5 hours             $222.60             $5.00           $227.60
              UCA8                4.5 hours              $97.60              $5.00           $102.60
                                  6.5 hours              $148.90             $5.00           $153.90
                                  8.5 hours              $200.20             $5.00           $205.20
                                  10.5 hours             $251.50             $5.00           $256.50
              UIL1                4.5 hours              $88.56              $5.00           $93.56
                                  5.5 hours              $111.95             $5.00           $116.95
                                  6.5 hours              $135.34             $5.00           $140.34
                                  8.5 hours              $182.12             $5.00           $187.12
                                  9.5 hours              $205.51             $5.00           $210.51
                                  10.5 hours             $228.90             $5.00           $233.90
              UNV1                4.5 hours              $73.00              $5.00           $78.00
                                  6.5 hours              $112.00             $5.00           $117.00
                                  8.5 hours              $151.00             $5.00           $156.00
                                  10.5 hours             $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point   Duration of      Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route    Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                   (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours        $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours        $210.00                $5.00
                           7.5 hours        $230.00                $5.00
                           8.5 hours        $250.00                $5.00
                           9.5 hours        $271.00                $5.00
                           10.5 hours       $294.00                $5.00
      DLA3                 5.5 hours        $174.40                $5.00                 $1,500.00             See below.
                           6.5 hours        $188.20                $5.00
                           7.5 hours        $202.00                $5.00
                           8.5 hours        $226.84                $5.00
                           9.5 hours        $248.92                $5.00
                           10.5 hours       $271.00                $5.00
      DLA7                 5.5 hours        $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours        $194.50                $5.00
                           7.5 hours        $208.75                $5.00
                           8.5 hours        $234.40                $5.00
                           9.5 hours        $257.20                $5.00
                           10.5 hours       $280.00                $5.00
      DLA8 and DLA9        5.5 hours        $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours        $195.90                $5.00
                           7.5 hours        $210.25                $5.00
                           8.5 hours        $236.08                $5.00
                           9.5 hours        $259.04                $5.00
                           10.5 hours       $282.00                $5.00
      DSD1 and DSD2        5.5 hours        $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours        $189.60                $5.00
                           7.5 hours        $203.50                $5.00
                           8.5 hours        $228.52                $5.00
                           9.5 hours        $250.76                $5.00
                           10.5 hours       $273.00                $5.00
      DSF3                 5.5 hours        $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours        $219.00                $5.00
                           7.5 hours        $235.00                $5.00
                           8.5 hours        $263.80                $5.00
                           9.5 hours        $289.40                $5.00
                           10.5 hours       $315.00                $5.00
      DSF4 and DSF5        5.5 hours        $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours        $222.50                $5.00
                           7.5 hours        $238.75                $5.00
                           8.5 hours        $268.00                $5.00
                           9.5 hours        $294.00                $5.00
                           10.5 hours       $320.00                $5.00
      DSF6                 5.5 hours        $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours        $212.00                $5.00
                           7.5 hours        $227.50                $5.00
                           8.5 hours        $255.40                $5.00
                           9.5 hours        $280.20                $5.00
                           10.5 hours       $305.00                $5.00




                                                      Exhibit A - page 95
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             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a
                dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

             4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
                Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
                otherwise interacting with customers will wear a uniform that complies with the specifications set forth
                on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
                Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
                specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
                time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
                insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
                receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
                notice.

             5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
                to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
                arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
                circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
                hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
                DLA3 and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour at DSD1 and DSD2,
                (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

             6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
                experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
                will pay you (a) $194.35 per Training Route at DLA3, DLA7, DLA8, and DLA9, (b) $179.01 per
                Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d) $214.67 per Training
                Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                               Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                            Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To               Dollars per Mile
                                      $1.20              $1.32                  $0.11
                                      $1.33              $1.45                  $0.12
                                      $1.46              $1.58                  $0.13
                                      $1.59              $1.71                  $0.14
                                      $1.72              $1.84                  $0.15
                                      $1.85              $1.97                  $0.16
                                      $1.98              $2.10                  $0.17
                                      $2.11              $2.23                  $0.18
                                      $2.24              $2.36                  $0.19
                                      $2.37              $2.49                  $0.20
                                      $2.50              $2.62                  $0.21
                                      $2.63              $2.75                  $0.22
                                      $2.76              $2.88                  $0.23
                                      $2.89              $3.01                  $0.24
                                      $3.02              $3.14                  $0.25
                                      $3.15              $3.27                  $0.26
                                      $3.28              $3.40                  $0.27
                                      $3.41              $3.53                  $0.28
                                      $3.54              $3.66                  $0.29
                                      $3.67              $3.79                  $0.30
                                      $3.80              $3.92                  $0.31
                                      $3.93              $4.05                  $0.32
                                      $4.06              $4.18                  $0.33
                                      $4.19              $4.31                  $0.34
                                      $4.32              $4.44                  $0.35
                                      $4.45              $4.57                  $0.36
                                      $4.58              $4.70                  $0.37
                                      $4.71              $4.83                  $0.38
                                      $4.84              $4.96                  $0.39
                                      $4.97              $5.09                  $0.40
                                      $5.10              $5.22                  $0.41
                                      $5.23              $5.35                  $0.42
                                      $5.36              $5.48                  $0.43
                                      $5.49              $5.61                  $0.44
                                      $5.62              $5.74                  $0.45
                                      $5.75              $5.87                  $0.46
                                      $5.88              $6.00                  $0.47




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                         EXHIBIT 13

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                                                    EleventhAmendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Eleventh Amendment to Work Order (this “Eleventh Amendment”) is effective as of July 26,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, and the Tenth Amendment
            to Work Order, dated as of June 2, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California
            corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms
            used and not defined in this Eleventh Amendment have the respective meanings assigned to such terms in
            the Delivery Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same
            may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eleventh Amendment and the terms of the Work Order, the terms of this Eleventh Amendment will
            control.

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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eleventh Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                        [Signature Page to Eleventh Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. DCH1 – Alsip, IL

                2. DCH2 – Chicago, IL

                3. DCH3 – Lisle, IL

                4. DLA1 – Inglewood, CA

                5. DLA2 – Buena Park, CA

                6. DLA3 – Commerce, CA

                7. DLA4 – Los Angeles, CA

                8. DLA7 – Site location TBD

                9. DLA8 – Hawthorne, CA

                10. DLA9 – Irvine, CA

                11. DSD1 – San Diego, CA

                12. DSD2 – Carlsbad, CA

                13. DSF3 – San Jose, CA

                14. DSF4 – San Leandro, CA

                15. DSF5 – San Francisco, CA

                16. DSF6 – Richmond, CA

                17. UCA1 – San Francisco, CA

                18. UCA2 – Redondo Beach, CA

                19. UCA3 – Los Angeles, CA

                20. UCA4 – Irvine, CA

                21. UCA5 – Los Angeles, CA

                22. UCA6 – San Diego, CA

                23. UCA8 – Berkeley, CA

                24. UCA9 – Sacramento, CA



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                25. UIL1 – Chicago, IL

                26. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00           $107.00
                                 6.5 hours             $155.50             $5.00           $160.50
                                 8.5 hours             $209.00             $5.00           $214.00
                                 10.5 hours            $262.50             $5.00           $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00           $91.04
              UCA4, UCA5,        6.5 hours             $131.56             $5.00           $136.56
              UCA6, and          8.5 hours             $177.08             $5.00           $182.08
              UCA9               10.5 hours            $222.60             $5.00           $227.60
              UCA8               4.5 hours             $97.60              $5.00           $102.60
                                 6.5 hours             $148.90             $5.00           $153.90
                                 8.5 hours             $200.20             $5.00           $205.20
                                 10.5 hours            $251.50             $5.00           $256.50
              UIL1               4.5 hours             $88.56              $5.00           $93.56
                                 5.5 hours             $111.95             $5.00           $116.95
                                 6.5 hours             $135.34             $5.00           $140.34
                                 8.5 hours             $182.12             $5.00           $187.12
                                 9.5 hours             $205.51             $5.00           $210.51
                                 10.5 hours            $228.90             $5.00           $233.90
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00




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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
               DLA1, DLA2, DLA3, DLA4, and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour
               at DSD1 and DSD2, (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $194.35 per Training Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9,
               (b) $179.01 per Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d)
               $214.67 per Training Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                              Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                           Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To               Dollars per Mile
                                     $1.20              $1.32                  $0.11
                                     $1.33              $1.45                  $0.12
                                     $1.46              $1.58                  $0.13
                                     $1.59              $1.71                  $0.14
                                     $1.72              $1.84                  $0.15
                                     $1.85              $1.97                  $0.16
                                     $1.98              $2.10                  $0.17
                                     $2.11              $2.23                  $0.18
                                     $2.24              $2.36                  $0.19
                                     $2.37              $2.49                  $0.20
                                     $2.50              $2.62                  $0.21
                                     $2.63              $2.75                  $0.22
                                     $2.76              $2.88                  $0.23
                                     $2.89              $3.01                  $0.24
                                     $3.02              $3.14                  $0.25
                                     $3.15              $3.27                  $0.26
                                     $3.28              $3.40                  $0.27
                                     $3.41              $3.53                  $0.28
                                     $3.54              $3.66                  $0.29
                                     $3.67              $3.79                  $0.30
                                     $3.80              $3.92                  $0.31
                                     $3.93              $4.05                  $0.32
                                     $4.06              $4.18                  $0.33
                                     $4.19              $4.31                  $0.34
                                     $4.32              $4.44                  $0.35
                                     $4.45              $4.57                  $0.36
                                     $4.58              $4.70                  $0.37
                                     $4.71              $4.83                  $0.38
                                     $4.84              $4.96                  $0.39
                                     $4.97              $5.09                  $0.40
                                     $5.10              $5.22                  $0.41
                                     $5.23              $5.35                  $0.42
                                     $5.36              $5.48                  $0.43
                                     $5.49              $5.61                  $0.44
                                     $5.62              $5.74                  $0.45
                                     $5.75              $5.87                  $0.46
                                     $5.88              $6.00                  $0.47




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                         EXHIBIT 14

                            Exhibit A - page 107
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                                                    Twelfth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Twelfth Amendment to Work Order (this “Twelfth Amendment”) is effective as of August
            14, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, and the Eleventh Amendment to Work Order, dated as of July 26,
            2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon
            Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined in this
            Twelfth Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms
            of Service to which you agreed on the Delivery Provider Platform (as the same may be amended, modified,
            or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Twelfth Amendment and the terms of the Work Order, the terms of this Twelfth Amendment will
            control.

                                                     [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Twelfth Amendment.

              Amazon Logistics, Inc.                                Scoobeez, Inc.


              By:                                                   By:
              Name:                                                 Name:
              Title:                                                Title:
              Date Signed: ____________________________             Date Signed: ____________________________




                                        [Signature Page to Twelfth Amendment to Work Order]



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                                                             Schedule C

                                                    Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of           Fees for Services   Uniform and           Total (per
             Point              Planned Route         (per Planned        Vehicle Brand         Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00                 $107.00
                                6.5 hours             $155.50             $5.00                 $160.50
                                8.5 hours             $209.00             $5.00                 $214.00
                                10.5 hours            $262.50             $5.00                 $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00                 $91.04
             UCA4, UCA5,        6.5 hours             $131.56             $5.00                 $136.56
             UCA6, and          8.5 hours             $177.08             $5.00                 $182.08
             UCA9               10.5 hours            $222.60             $5.00                 $227.60
             UCA8               4.5 hours             $97.60              $5.00                 $102.60
                                6.5 hours             $148.90             $5.00                 $153.90
                                8.5 hours             $200.20             $5.00                 $205.20
                                10.5 hours            $251.50             $5.00                 $256.50
             UIL1               4.5 hours             $88.56              $5.00                 $93.56
                                5.5 hours             $111.95             $5.00                 $116.95
                                6.5 hours             $135.34             $5.00                 $140.34
                                8.5 hours             $182.12             $5.00                 $187.12
                                9.5 hours             $205.51             $5.00                 $210.51
                                10.5 hours            $228.90             $5.00                 $233.90
             UNV1               4.5 hours             $73.00              $5.00                 $78.00
                                6.5 hours             $112.00             $5.00                 $117.00
                                8.5 hours             $151.00             $5.00                 $156.00
                                10.5 hours            $190.00             $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00




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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
               DLA1, DLA2, DLA3, DLA4, and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour
               at DSD1 and DSD2, (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $194.35 per Training Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9,
               (b) $179.01 per Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d)
               $214.67 per Training Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                             Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                          Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To              Dollars per Mile
                                     $1.20              $1.32                 $0.11
                                     $1.33              $1.45                 $0.12
                                     $1.46              $1.58                 $0.13
                                     $1.59              $1.71                 $0.14
                                     $1.72              $1.84                 $0.15
                                     $1.85              $1.97                 $0.16
                                     $1.98              $2.10                 $0.17
                                     $2.11              $2.23                 $0.18
                                     $2.24              $2.36                 $0.19
                                     $2.37              $2.49                 $0.20
                                     $2.50              $2.62                 $0.21
                                     $2.63              $2.75                 $0.22
                                     $2.76              $2.88                 $0.23
                                     $2.89              $3.01                 $0.24
                                     $3.02              $3.14                 $0.25
                                     $3.15              $3.27                 $0.26
                                     $3.28              $3.40                 $0.27
                                     $3.41              $3.53                 $0.28
                                     $3.54              $3.66                 $0.29
                                     $3.67              $3.79                 $0.30
                                     $3.80              $3.92                 $0.31
                                     $3.93              $4.05                 $0.32
                                     $4.06              $4.18                 $0.33
                                     $4.19              $4.31                 $0.34
                                     $4.32              $4.44                 $0.35
                                     $4.45              $4.57                 $0.36
                                     $4.58              $4.70                 $0.37
                                     $4.71              $4.83                 $0.38
                                     $4.84              $4.96                 $0.39
                                     $4.97              $5.09                 $0.40
                                     $5.10              $5.22                 $0.41
                                     $5.23              $5.35                 $0.42
                                     $5.36              $5.48                 $0.43
                                     $5.49              $5.61                 $0.44
                                     $5.62              $5.74                 $0.45
                                     $5.75              $5.87                 $0.46
                                     $5.88              $6.00                 $0.47




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                         EXHIBIT 15

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                                                    Thirteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Thirteenth Amendment to Work Order (this “Thirteenth Amendment”) is effective as of
            August 28, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the
            First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order,
            dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the
            Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, and the Twelfth Amendment to Work Order, dated as of August 14, 2016 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Thirteenth
            Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms of Service
            to which you agreed on the Delivery Provider Platform (as the same may be amended, modified, or
            supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Thirteenth Amendment and the terms of the Work Order, the terms of this Thirteenth Amendment
            will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Thirteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                       [Signature Page to Thirteenth Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. DCH1 – Alsip, IL

                2. DCH2 – Chicago, IL

                3. DCH3 – Lisle, IL

                4. DDA1 – Farmers Branch, TX

                5. DDA2 – Garland, TX

                6. DDA3 – Ft. Worth, TX

                7. DLA1 – Inglewood, CA

                8. DLA2 – Buena Park, CA

                9. DLA3 – Commerce, CA

                10. DLA4 – Los Angeles, CA

                11. DLA7 – Site location TBD

                12. DLA8 – Hawthorne, CA

                13. DLA9 – Irvine, CA

                14. DMI1 – Miami, FL

                15. DMI2 – Miami Gardens, FL

                16. DMI3 – Miami, FL

                17. DSD1 – San Diego, CA

                18. DSD2 – Carlsbad, CA

                19. DSF3 – San Jose, CA

                20. DSF4 – San Leandro, CA

                21. DSF5 – San Francisco, CA

                22. DSF6 – Richmond, CA

                23. UCA1 – San Francisco, CA

                24. UCA2 – Redondo Beach, CA




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                25. UCA3 – Los Angeles, CA

                26. UCA4 – Irvine, CA

                27. UCA5 – Los Angeles, CA

                28. UCA6 – San Diego, CA

                29. UCA8 – Berkeley, CA

                30. UCA9 – Sacramento, CA

                31. UIL1 – Chicago, IL

                32. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and          Total (per
              Point              Planned Route         (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00                $107.00
                                 6.5 hours             $155.50             $5.00                $160.50
                                 8.5 hours             $209.00             $5.00                $214.00
                                 10.5 hours            $262.50             $5.00                $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00                $91.04
              UCA4, UCA5,        6.5 hours             $131.56             $5.00                $136.56
              UCA6, and          8.5 hours             $177.08             $5.00                $182.08
              UCA9               10.5 hours            $222.60             $5.00                $227.60
              UCA8               4.5 hours             $97.60              $5.00                $102.60
                                 6.5 hours             $148.90             $5.00                $153.90
                                 8.5 hours             $200.20             $5.00                $205.20
                                 10.5 hours            $251.50             $5.00                $256.50
              UIL1               4.5 hours             $88.56              $5.00                $93.56
                                 5.5 hours             $111.95             $5.00                $116.95
                                 6.5 hours             $135.34             $5.00                $140.34
                                 8.5 hours             $182.12             $5.00                $187.12
                                 9.5 hours             $205.51             $5.00                $210.51
                                 10.5 hours            $228.90             $5.00                $233.90
              UNV1               4.5 hours             $73.00              $5.00                $78.00
                                 6.5 hours             $112.00             $5.00                $117.00
                                 8.5 hours             $151.00             $5.00                $156.00
                                 10.5 hours            $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00




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      DSF3                5.5 hours        $203.00                $5.00                   $1,500.00           See below.
                          6.5 hours        $219.00                $5.00
                          7.5 hours        $235.00                $5.00
                          8.5 hours        $263.80                $5.00
                          9.5 hours        $289.40                $5.00
                          10.5 hours       $315.00                $5.00
      DSF4 and DSF5       5.5 hours        $206.25                $5.00                   $1,500.00           See below.
                          6.5 hours        $222.50                $5.00
                          7.5 hours        $238.75                $5.00
                          8.5 hours        $268.00                $5.00
                          9.5 hours        $294.00                $5.00
                          10.5 hours       $320.00                $5.00
      DSF6                5.5 hours        $196.50                $5.00                   $1,500.00           See below.
                          6.5 hours        $212.00                $5.00
                          7.5 hours        $227.50                $5.00
                          8.5 hours        $255.40                $5.00
                          9.5 hours        $280.20                $5.00
                          10.5 hours       $305.00                $5.00

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a
                dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

             4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
                Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
                otherwise interacting with customers will wear a uniform that complies with the specifications set forth
                on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
                Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
                specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
                time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and



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                insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
                receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
                notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, and (h) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, and (g) $207.91 per Training Route
               at DSF6.




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                                              Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                           Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To               Dollars per Mile
                                     $1.20              $1.32                  $0.11
                                     $1.33              $1.45                  $0.12
                                     $1.46              $1.58                  $0.13
                                     $1.59              $1.71                  $0.14
                                     $1.72              $1.84                  $0.15
                                     $1.85              $1.97                  $0.16
                                     $1.98              $2.10                  $0.17
                                     $2.11              $2.23                  $0.18
                                     $2.24              $2.36                  $0.19
                                     $2.37              $2.49                  $0.20
                                     $2.50              $2.62                  $0.21
                                     $2.63              $2.75                  $0.22
                                     $2.76              $2.88                  $0.23
                                     $2.89              $3.01                  $0.24
                                     $3.02              $3.14                  $0.25
                                     $3.15              $3.27                  $0.26
                                     $3.28              $3.40                  $0.27
                                     $3.41              $3.53                  $0.28
                                     $3.54              $3.66                  $0.29
                                     $3.67              $3.79                  $0.30
                                     $3.80              $3.92                  $0.31
                                     $3.93              $4.05                  $0.32
                                     $4.06              $4.18                  $0.33
                                     $4.19              $4.31                  $0.34
                                     $4.32              $4.44                  $0.35
                                     $4.45              $4.57                  $0.36
                                     $4.58              $4.70                  $0.37
                                     $4.71              $4.83                  $0.38
                                     $4.84              $4.96                  $0.39
                                     $4.97              $5.09                  $0.40
                                     $5.10              $5.22                  $0.41
                                     $5.23              $5.35                  $0.42
                                     $5.36              $5.48                  $0.43
                                     $5.49              $5.61                  $0.44
                                     $5.62              $5.74                  $0.45
                                     $5.75              $5.87                  $0.46
                                     $5.88              $6.00                  $0.47




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                         EXHIBIT 16

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                                                    Fourteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Fourteenth Amendment to Work Order (this “Fourteenth Amendment”) is effective as of
            September 18, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by
            the First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work
            Order, dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015,
            the Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, the Twelfth Amendment to Work Order, dated as of August 14, 2016, and the Thirteenth
            Amendment to Work Order, dated as of August 28, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Fourteenth Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fourteenth Amendment and the terms of the Work Order, the terms of this Fourteenth Amendment
            will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fourteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                       [Signature Page to Fourteenth Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. DDA1 – Farmers Branch, TX

                 5. DDA2 – Garland, TX

                 6. DDA3 – Ft. Worth, TX

                 7. DLA1 – Inglewood, CA

                 8. DLA2 – Buena Park, CA

                 9. DLA3 – Commerce, CA

                 10. DLA4 – Los Angeles, CA

                 11. DLA7 – Site location TBD

                 12. DLA8 – Hawthorne, CA

                 13. DLA9 – Irvine, CA

                 14. DMI1 – Miami, FL

                 15. DMI2 – Miami Gardens, FL

                 16. DMI3 – Miami, FL

                 17. DSD1 – San Diego, CA

                 18. DSD2 – Carlsbad, CA

                 19. DSF3 – San Jose, CA

                 20. DSF4 – San Leandro, CA

                 21. DSF5 – San Francisco, CA

                 22. DSF6 – Richmond, CA

                 23. SAT5 – San Antonio, TX

                 24. UCA1 – San Francisco, CA




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                 25. UCA2 – Redondo Beach, CA

                 26. UCA3 – Los Angeles, CA

                 27. UCA4 – Irvine, CA

                 28. UCA5 – Los Angeles, CA

                 29. UCA6 – San Diego, CA

                 30. UCA8 – Berkeley, CA

                 31. UCA9 – Sacramento, CA

                 32. UIL1 – Chicago, IL

                 33. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and          Total (per
              Point              Planned Route         (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00                $107.00
                                 6.5 hours             $155.50             $5.00                $160.50
                                 8.5 hours             $209.00             $5.00                $214.00
                                 10.5 hours            $262.50             $5.00                $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00                $91.04
              UCA4, UCA5,        6.5 hours             $131.56             $5.00                $136.56
              UCA6, and          8.5 hours             $177.08             $5.00                $182.08
              UCA9               10.5 hours            $222.60             $5.00                $227.60
              UCA8               4.5 hours             $97.60              $5.00                $102.60
                                 6.5 hours             $148.90             $5.00                $153.90
                                 8.5 hours             $200.20             $5.00                $205.20
                                 10.5 hours            $251.50             $5.00                $256.50
              UIL1               4.5 hours             $88.56              $5.00                $93.56
                                 5.5 hours             $111.95             $5.00                $116.95
                                 6.5 hours             $135.34             $5.00                $140.34
                                 8.5 hours             $182.12             $5.00                $187.12
                                 9.5 hours             $205.51             $5.00                $210.51
                                 10.5 hours            $228.90             $5.00                $233.90
              UNV1               4.5 hours             $73.00              $5.00                $78.00
                                 6.5 hours             $112.00             $5.00                $117.00
                                 8.5 hours             $151.00             $5.00                $156.00
                                 10.5 hours            $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle     Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee     calendar week per     Allowance
                           Route                                  (per Planned Route)     Distribution Point)
      DSF3                 5.5 hours       $203.00                $5.00                   $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                   $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                   $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                   $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00
                           Helper (if      $135.32                N/A
                           applicable)

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
                http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a




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                 dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                 number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                 Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, and (i) $28.00
               per hour at SAT5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, and (h) $161.56 per Training Route at SAT5.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                         EXHIBIT 17

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                                                    Fifteenth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Fifteenth Amendment to Work Order (this “Fifteenth Amendment”) is effective as of
            September 18, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by
            the First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work
            Order, dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015,
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            Amendment to Work Order, dated as of August 28, 2016, and the Fourteenth Amendment to Work Order,
            dated as of September 18, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California
            corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms
            used and not defined in this Fifteenth Amendment have the respective meanings assigned to such terms in
            the Delivery Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same
            may be amended, modified, or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.       No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fifteenth Amendment and the terms of the Work Order, the terms of this Fifteenth Amendment will
            control.

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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fifteenth Amendment.

              Amazon Logistics, Inc.                                Scoobeez, Inc.


              By:                                                   By:
              Name:                                                 Name:
              Title:                                                Title:
              Date Signed: ____________________________             Date Signed: ____________________________




                                       [Signature Page to Fifteenth Amendment to Work Order]



                                                  Exhibit A - page 136
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                                                             Schedule C

                                                   Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of          Fees for Services    Uniform and           Total (per
             Point              Planned Route        (per Planned         Vehicle Brand         Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours            $102.00              $5.00                 $107.00
                                6.5 hours            $155.50              $5.00                 $160.50
                                8.5 hours            $209.00              $5.00                 $214.00
                                10.5 hours           $262.50              $5.00                 $267.50
             UCA2, UCA3,        4.5 hours            $86.04               $5.00                 $91.04
             UCA4, UCA5,        6.5 hours            $131.56              $5.00                 $136.56
             UCA6, and          8.5 hours            $177.08              $5.00                 $182.08
             UCA9               10.5 hours           $222.60              $5.00                 $227.60
             UCA8               4.5 hours            $97.60               $5.00                 $102.60
                                6.5 hours            $148.90              $5.00                 $153.90
                                8.5 hours            $200.20              $5.00                 $205.20
                                10.5 hours           $251.50              $5.00                 $256.50
             UIL1               4.5 hours            $88.56               $5.00                 $93.56
                                5.5 hours            $111.95              $5.00                 $116.95
                                6.5 hours            $135.34              $5.00                 $140.34
                                8.5 hours            $182.12              $5.00                 $187.12
                                9.5 hours            $205.51              $5.00                 $210.51
                                10.5 hours           $228.90              $5.00                 $233.90
             UNV1               4.5 hours            $73.00               $5.00                 $78.00
                                6.5 hours            $112.00              $5.00                 $117.00
                                8.5 hours            $151.00              $5.00                 $156.00
                                10.5 hours           $190.00              $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




                                                  Exhibit A - page 137
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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.




                                                    Exhibit A - page 138
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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle     Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee     calendar week per     Allowance
                           Route                                  (per Planned Route)     Distribution Point)
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                   $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                   $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                   $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                   $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                   $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                   $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00
                           Helper (if      $135.32                N/A
                           applicable)

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.




                                                     Exhibit A - page 139
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                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can    be     found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, and (i) $28.00
               per hour at SAT5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, and (h) $161.56 per Training Route at SAT5.




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                                            Attachment 1 to Part II of Schedule C

                                          Index Price
                                                                         Fuel Allowance
                                      (Dollars per Gallon)
                                    From                To              Dollars per Mile
                                    $1.20              $1.32                 $0.11
                                    $1.33              $1.45                 $0.12
                                    $1.46              $1.58                 $0.13
                                    $1.59              $1.71                 $0.14
                                    $1.72              $1.84                 $0.15
                                    $1.85              $1.97                 $0.16
                                    $1.98              $2.10                 $0.17
                                    $2.11              $2.23                 $0.18
                                    $2.24              $2.36                 $0.19
                                    $2.37              $2.49                 $0.20
                                    $2.50              $2.62                 $0.21
                                    $2.63              $2.75                 $0.22
                                    $2.76              $2.88                 $0.23
                                    $2.89              $3.01                 $0.24
                                    $3.02              $3.14                 $0.25
                                    $3.15              $3.27                 $0.26
                                    $3.28              $3.40                 $0.27
                                    $3.41              $3.53                 $0.28
                                    $3.54              $3.66                 $0.29
                                    $3.67              $3.79                 $0.30
                                    $3.80              $3.92                 $0.31
                                    $3.93              $4.05                 $0.32
                                    $4.06              $4.18                 $0.33
                                    $4.19              $4.31                 $0.34
                                    $4.32              $4.44                 $0.35
                                    $4.45              $4.57                 $0.36
                                    $4.58              $4.70                 $0.37
                                    $4.71              $4.83                 $0.38
                                    $4.84              $4.96                 $0.39
                                    $4.97              $5.09                 $0.40
                                    $5.10              $5.22                 $0.41
                                    $5.23              $5.35                 $0.42
                                    $5.36              $5.48                 $0.43
                                    $5.49              $5.61                 $0.44
                                    $5.62              $5.74                 $0.45
                                    $5.75              $5.87                 $0.46
                                    $5.88              $6.00                 $0.47




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                         EXHIBIT 18

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                                                     Sixteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Sixteenth Amendment to Work Order (this “Sixteenth Amendment”) is effective as of January
            1, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, and the Fifteenth Amendment to Work Order, dated as of September 18, 2016 (the “Work Order”),
            by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware
            corporation (“Amazon”). All capitalized terms used and not defined in this Sixteenth Amendment have the
            respective meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed
            on the Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to
            time, the “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Sixteenth Amendment and the terms of the Work Order, the terms of this Sixteenth Amendment will
            control.

                                                      [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Sixteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:                                                 Name:
               Title:                                                Title:
               Date Signed: ____________________________             Date Signed: ____________________________




                                        [Signature Page to Sixteenth Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                 1. DAU1 – Austin, TX

                 2. DCH1 – Alsip, IL

                 3. DCH2 – Chicago, IL

                 4. DCH3 – Lisle, IL

                 5. DDA1 – Farmers Branch, TX

                 6. DDA2 – Garland, TX

                 7. DDA3 – Ft. Worth, TX

                 8. DLA1 – Inglewood, CA

                 9. DLA2 – Buena Park, CA

                 10. DLA3 – Commerce, CA

                 11. DLA4 – Los Angeles, CA

                 12. DLA7 – Site location TBD

                 13. DLA8 – Hawthorne, CA

                 14. DLA9 – Irvine, CA

                 15. DMI1 – Miami, FL

                 16. DMI2 – Miami Gardens, FL

                 17. DMI3 – Miami, FL

                 18. DSD1 – San Diego, CA

                 19. DSD2 – Carlsbad, CA

                 20. DSF3 – San Jose, CA

                 21. DSF4 – San Leandro, CA

                 22. DSF5 – San Francisco, CA

                 23. DSF6 – Richmond, CA

                 24. SAT5 – San Antonio, TX




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                 25. UCA1 – San Francisco, CA

                 26. UCA2 – Redondo Beach, CA

                 27. UCA3 – Los Angeles, CA

                 28. UCA4 – Irvine, CA

                 29. UCA5 – Los Angeles, CA

                 30. UCA6 – San Diego, CA

                 31. UCA8 – Berkeley, CA

                 32. UCA9 – Sacramento, CA

                 33. UIL1 – Chicago, IL

                 34. UNV1 – Las Vegas, NV




                                                    Exhibit A - page 146
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and          Total (per
              Point              Planned Route         (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00                $107.00
                                 6.5 hours             $155.50             $5.00                $160.50
                                 8.5 hours             $209.00             $5.00                $214.00
                                 10.5 hours            $262.50             $5.00                $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00                $91.04
              and UCA5           6.5 hours             $131.56             $5.00                $136.56
                                 8.5 hours             $177.08             $5.00                $182.08
                                 10.5 hours            $222.60             $5.00                $227.60
              UCA4, UCA6,        2 hours               $43.70              $5.00                $48.70
              and UCA9           4 hours               $92.40              $5.00                $97.40
                                 6 hours               $141.10             $5.00                $146.10
                                 8 hours               $189.80             $5.00                $194.80
                                 9 hours               $214.15             $5.00                $219.15
                                 10 hours              $238.50             $5.00                $243.50
              UCA8               4.5 hours             $97.60              $5.00                $102.60
                                 6.5 hours             $148.90             $5.00                $153.90
                                 8.5 hours             $200.20             $5.00                $205.20
                                 10.5 hours            $251.50             $5.00                $256.50
              UIL1               4.5 hours             $88.56              $5.00                $93.56
                                 5.5 hours             $111.95             $5.00                $116.95
                                 6.5 hours             $135.34             $5.00                $140.34
                                 8.5 hours             $182.12             $5.00                $187.12
                                 9.5 hours             $205.51             $5.00                $210.51
                                 10.5 hours            $228.90             $5.00                $233.90
              UNV1               4.5 hours             $73.00              $5.00                $78.00
                                 6.5 hours             $112.00             $5.00                $117.00
                                 8.5 hours             $151.00             $5.00                $156.00
                                 10.5 hours            $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DAU1                 5.5 hours        $   177.11            $5.00                 $1,450.00             See below.
                           6.5 hours        $   184.55            $5.00
                           7.5 hours        $   196.23            $5.00
                           8.5 hours        $   216.05            $5.00
                           9.5 hours        $   235.57            $5.00
                           10.5 hours       $   279.00            $5.00
                           Same Day                               $5.00
                           Planned Route
                           (6.5 hours)      $ 184.55
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                 $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                           Route                                  (per Planned Route)    Distribution Point)
                           Helper (if      $135.32                N/A
                           applicable)

            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at




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                 DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i) $28.00 per
                 hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                         EXHIBIT 19

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                                                   Seventeenth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Seventeenth Amendment to Work Order (this “Seventeenth Amendment”) is effective as of
            April 9, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, the Fifteenth Amendment to Work Order, dated as of September 18, 2016, and the Sixteenth
            Amendment to Work Order, dated as of January 1, 2017 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Seventeenth Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Seventeenth Amendment and the terms of the Work Order, the terms of this Seventeenth Amendment
            will control.

                                                     [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Seventeenth Amendment.

               Amazon Logistics, Inc.                               Scoobeez, Inc.


               By:                                                  By:

               Name:                                                Name:

               Title:                                               Title:

               Date Signed: ____________________________            Date Signed: ____________________________




                                      [Signature Page to Seventeenth Amendment to Work Order]



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                                                             Schedule B

                                                       Distribution Points

                1. DAU1 – Austin, TX

                2. DCH1 – Alsip, IL

                3. DCH2 – Chicago, IL

                4. DCH3 – Lisle, IL

                5. DDA1 – Farmers Branch, TX

                6. DDA2 – Garland, TX

                7. DDA3 – Ft. Worth, TX

                8. DLA1 – Inglewood, CA

                9. DLA2 – Buena Park, CA

                10. DLA3 – Commerce, CA

                11. DLA4 – Los Angeles, CA

                12. DLA7 – Site location TBD

                13. DLA8 – Hawthorne, CA

                14. DLA9 – Irvine, CA

                15. DMI1 – Miami, FL

                16. DMI2 – Miami Gardens, FL

                17. DMI3 – Miami, FL

                18. DSD1 – San Diego, CA

                19. DSD2 – Carlsbad, CA

                20. DSF3 – San Jose, CA

                21. DSF4 – San Leandro, CA

                22. DSF5 – San Francisco, CA

                23. DSF6 – Richmond, CA

                24. SAT5 – San Antonio, TX




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                25. UCA1 – San Francisco, CA

                26. UCA2 – Redondo Beach, CA

                27. UCA3 – Los Angeles, CA

                28. UCA4 – Irvine, CA

                29. UCA5 – Los Angeles, CA

                30. UCA6 – San Diego, CA

                31. UCA8 – Berkeley, CA

                32. UCA9 – Sacramento, CA

                33. UIL1 – Chicago, IL

                34. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                    Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of           Fees for Services   Uniform and           Total (per
             Point              Planned Route         (per Planned        Vehicle Brand         Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00                 $107.00
                                6.5 hours             $155.50             $5.00                 $160.50
                                8.5 hours             $209.00             $5.00                 $214.00
                                10.5 hours            $262.50             $5.00                 $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00                 $91.04
             and UCA5           6.5 hours             $131.56             $5.00                 $136.56
                                8.5 hours             $177.08             $5.00                 $182.08
                                10.5 hours            $222.60             $5.00                 $227.60
             UCA4, UCA6,        2 hours               $43.70              $5.00                 $48.70
             and UCA9           4 hours               $92.40              $5.00                 $97.40
                                6 hours               $141.10             $5.00                 $146.10
                                8 hours               $189.80             $5.00                 $194.80
                                9 hours               $214.15             $5.00                 $219.15
                                10 hours              $238.50             $5.00                 $243.50
             UCA8               4.5 hours             $97.60              $5.00                 $102.60
                                6.5 hours             $148.90             $5.00                 $153.90
                                8.5 hours             $200.20             $5.00                 $205.20
                                10.5 hours            $251.50             $5.00                 $256.50
             UIL1               4.5 hours             $88.56              $5.00                 $93.56
                                5.5 hours             $111.95             $5.00                 $116.95
                                6.5 hours             $135.34             $5.00                 $140.34
                                8.5 hours             $182.12             $5.00                 $187.12
                                9.5 hours             $205.51             $5.00                 $210.51
                                10.5 hours            $228.90             $5.00                 $233.90
             UNV1               4.5 hours             $73.00              $5.00                 $78.00
                                6.5 hours             $112.00             $5.00                 $117.00
                                8.5 hours             $151.00             $5.00                 $156.00
                                10.5 hours            $190.00             $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel


                                                              Uniform and          Dispatcher Fee
                            Duration/Type   Base Route        Vehicle Brand        (per calendar
             Distribution
                            of Planned      Rate (per         Promotion Fee        week per          Fuel Allowance
             Point
                            Route           Planned Route)    (per Planned         Distribution
                                                              Route)               Point)
                            5.5 hours               $198.36                $5.00
                            6.5 hours               $206.70               $5.00
                            7.5 hours               $219.78               $5.00
                            8.5 hours               $241.98               $5.00
             DAU1           9.5 hours               $263.84               $5.00          $1,800.00   See below.
                            10.5 hours              $312.48               $5.00
                            Same Day
                            Planned Route           $198.36               $5.00
                            (6.5 hours)
                            5.5 hours               $214.70               $5.00
                            6.5 hours               $237.30               $5.00
                            7.5 hours               $259.90               $5.00
                            8.5 hours               $282.50               $5.00
                DCH1        9.5 hours               $306.23               $5.00       $1,800.00         See below.
                            10.5 hours              $332.22               $5.00

                            Same Day
                            Planned Route           $222.60               $5.00
                            (6.5 hours)

                            5.5 hours               $212.80               $5.00
                            6.5 hours               $235.20               $5.00
                            7.5 hours               $257.60               $5.00
                            8.5 hours               $280.00               $5.00
              DCH2, and
                            9.5 hours               $303.52               $5.00       $1,800.00         See below.
               DCH3
                            10.5 hours              $329.28               $5.00
                            Same Day
                            Planned Route           $291.76               $5.00
                            (6.5 hours)
                            5.5 hours               $182.78               $5.00
                            6.5 hours               $206.08               $5.00
               DDA1,        7.5 hours               $217.84               $5.00
              DDA2, and     8.5 hours               $246.40               $5.00       $1,800.00         See below.
               DDA3
                            9.5 hours               $273.28               $5.00

                            10.5 hours              $281.23               $5.00




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                           Same Day
                           Planned Route            $182.78        $5.00
                           (5.5 hours)
                           5.5 hours                $190.34        $5.00
                           6.5 hours                $205.40        $5.00
                           7.5 hours                $220.46        $5.00
                           8.5 hours                $247.57        $5.00
                           9.5 hours                $271.67        $5.00
                           10.5 hours               $295.77        $5.00
             DLA1,
             DLA2,
                                            Your Vehicle:                  $1,800.00   See below.
             DLA3,
             DLA4                           $205.4

                           Same Day
                           Planned Route    Delivery               $5.00
                           (6 hours)        Associate
                                            Personal
                                            Vehicle:
                                            $205.40
                           5.5 hours                $194.37        $5.00
                           6.5 hours                $209.73        $5.00
                           7.5 hours                $225.09        $5.00
                           8.5 hours                $252.75        $5.00
                           9.5 hours                $277.33        $5.00
                           10.5 hours               $301.91        $5.00

             DLA8                           Your Vehicle:                  $1,800.00   See below.
                                            $194.36

                           Same Day
                           Planned Route    Delivery               $5.00
                           (6 hours)        Associate
                                            Personal
                                            Vehicle:
                                            $194.36
                           5.5 hours                $190.63        $5.00
                           6.5 hours                $205.70        $5.00
                           7.5 hours                $220.76        $5.00
                           8.5 hours                $247.88        $5.00
                           9.5 hours                $271.99        $5.00
             DLA9          10.5 hours               $296.10        $5.00   $1,800.00   See below.


                           Same Day         Your Vehicle:
                           Planned Route    $210.95                $5.00
                           (6 hours)




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                                            Delivery
                                            Associate
                                            Personal
                                            Vehicle:
                                            $210.95
                           5.5 hours                $206.25                 $5.00
                           6.5 hours                $222.50                 $5.00
                           7.5 hours                $238.75                 $5.00
                           8.5 hours                $268.00                 $5.00
                DSF4       9.5 hours                $294.00                 $5.00      $1,800.00         See below.
                           10.5 hours               $325.00                 $5.00

                           Same Day
                           Planned Route            $210.00                 $5.00
                           (5.5 hours)

                           5.5 hours                $233.96                 $5.00
                           6.5 hours                $252.40                 $5.00
                           7.5 hours                $270.83                 $5.00
                           8.5 hours                $304.01                 $5.00
                DSF5       9.5 hours                $333.51                 $5.00      $1,800.00         See below.
                           10.5 hours               $363.00                 $5.00

                           Same Day
                           Planned Route            $252.66                 $5.00
                           (5.5 hours)

                           5.5 hours                $183.75                 $5.00
                           6.5 hours                $206.25                 $5.00
                           7.5 hours                $219.07                 $5.00
                           8.5 hours                $236.53                 $5.00
                           9.5 hours                $257.73                 $5.00
                           10.5 hours               $282.81                 $5.00
                SAT5                                                                   $1,800.00         See below.
                           Helper (if
                                                    $135.32   N/A
                           applicable)

                           Same Day
                           Planned Route            $183.75                 $5.00
                           (5.5 hours)


            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to




                                                   Exhibit A - page 161
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                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be    found    at
                http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i) $28.00 per
               hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                             Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                          Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To              Dollars per Mile
                                     $1.20              $1.32                 $0.11
                                     $1.33              $1.45                 $0.12
                                     $1.46              $1.58                 $0.13
                                     $1.59              $1.71                 $0.14
                                     $1.72              $1.84                 $0.15
                                     $1.85              $1.97                 $0.16
                                     $1.98              $2.10                 $0.17
                                     $2.11              $2.23                 $0.18
                                     $2.24              $2.36                 $0.19
                                     $2.37              $2.49                 $0.20
                                     $2.50              $2.62                 $0.21
                                     $2.63              $2.75                 $0.22
                                     $2.76              $2.88                 $0.23
                                     $2.89              $3.01                 $0.24
                                     $3.02              $3.14                 $0.25
                                     $3.15              $3.27                 $0.26
                                     $3.28              $3.40                 $0.27
                                     $3.41              $3.53                 $0.28
                                     $3.54              $3.66                 $0.29
                                     $3.67              $3.79                 $0.30
                                     $3.80              $3.92                 $0.31
                                     $3.93              $4.05                 $0.32
                                     $4.06              $4.18                 $0.33
                                     $4.19              $4.31                 $0.34
                                     $4.32              $4.44                 $0.35
                                     $4.45              $4.57                 $0.36
                                     $4.58              $4.70                 $0.37
                                     $4.71              $4.83                 $0.38
                                     $4.84              $4.96                 $0.39
                                     $4.97              $5.09                 $0.40
                                     $5.10              $5.22                 $0.41
                                     $5.23              $5.35                 $0.42
                                     $5.36              $5.48                 $0.43
                                     $5.49              $5.61                 $0.44
                                     $5.62              $5.74                 $0.45
                                     $5.75              $5.87                 $0.46
                                     $5.88              $6.00                 $0.47




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                         EXHIBIT 20

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                                                    Eighteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Eighteenth Amendment to Work Order (this “Eighteenth Amendment”) is effective as of April
            30, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, the Fifteenth Amendment to Work Order, dated as of September 18, 2016, the Sixteenth Amendment
            to Work Order, dated as of January 1, 2017, and the Seventeenth Amendment to Work Order, dated as of
            April 9, 2017 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and
            Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined
            in this Eighteenth Amendment have the respective meanings assigned to such terms in the Delivery Provider
            Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be amended,
            modified, or supplemented from time to time, the “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eighteenth Amendment and the terms of the Work Order, the terms of this Eighteenth Amendment
            will control.

                                                       [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eighteenth Amendment.

               Amazon Logistics, Inc.                                 Scoobeez, Inc.


               By:                                                    By:
               Name:                                                  Name:
               Title:                                                 Title:
               Date Signed: ____________________________              Date Signed: ____________________________




                                        [Signature Page to Eighteenth Amendment to Work Order]



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                                                             Schedule B

                                                         Distribution Points

                 1. DAU1 – Austin, TX

                 2. DCH1 – Alsip, IL

                 3. DCH2 – Chicago, IL

                 4. DCH3 – Lisle, IL

                 5. DDA1 – Farmers Branch, TX

                 6. DDA2 – Garland, TX

                 7. DDA3 – Ft. Worth, TX

                 8. DLA1 – Inglewood, CA

                 9. DLA2 – Buena Park, CA

                 10. DLA3 – Commerce, CA

                 11. DLA4 – Los Angeles, CA

                 12. DLA7 – Site location TBD

                 13. DLA8 – Hawthorne, CA

                 14. DLA9 – Irvine, CA

                 15. DMI1 – Miami, FL

                 16. DMI2 – Miami Gardens, FL

                 17. DMI3 – Miami, FL

                 18. DSD1 – San Diego, CA

                 19. DSD2 – Carlsbad, CA

                 20. DSD3 – San Diego, CA

                 21. DSF3 – San Jose, CA

                 22. DSF4 – San Leandro, CA

                 23. DSF5 – San Francisco, CA

                 24. DSF6 – Richmond, CA




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                 25. SAT5 – San Antonio, TX

                 26. UCA1 – San Francisco, CA

                 27. UCA2 – Redondo Beach, CA

                 28. UCA3 – Los Angeles, CA

                 29. UCA4 – Irvine, CA

                 30. UCA5 – Los Angeles, CA

                 31. UCA6 – San Diego, CA

                 32. UCA8 – Berkeley, CA

                 33. UCA9 – Sacramento, CA

                 34. UIL1 – Chicago, IL

                 35. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                      Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of            Fees for Services   Uniform and         Total (per
              Point              Planned Route          (per Planned        Vehicle Brand       Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00               $107.00
                                 6.5 hours              $155.50             $5.00               $160.50
                                 8.5 hours              $209.00             $5.00               $214.00
                                 10.5 hours             $262.50             $5.00               $267.50
              UCA2, UCA3,        4.5 hours              $86.04              $5.00               $91.04
              and UCA5           6.5 hours              $131.56             $5.00               $136.56
                                 8.5 hours              $177.08             $5.00               $182.08
                                 10.5 hours             $222.60             $5.00               $227.60
              UCA4, UCA6,        2 hours                $43.70              $5.00               $48.70
              and UCA9           4 hours                $92.40              $5.00               $97.40
                                 6 hours                $141.10             $5.00               $146.10
                                 8 hours                $189.80             $5.00               $194.80
                                 9 hours                $214.15             $5.00               $219.15
                                 10 hours               $238.50             $5.00               $243.50
              UCA8               4.5 hours              $97.60              $5.00               $102.60
                                 6.5 hours              $148.90             $5.00               $153.90
                                 8.5 hours              $200.20             $5.00               $205.20
                                 10.5 hours             $251.50             $5.00               $256.50
              UIL1               4.5 hours              $88.56              $5.00               $93.56
                                 5.5 hours              $111.95             $5.00               $116.95
                                 6.5 hours              $135.34             $5.00               $140.34
                                 8.5 hours              $182.12             $5.00               $187.12
                                 9.5 hours              $205.51             $5.00               $210.51
                                 10.5 hours             $228.90             $5.00               $233.90
              UNV1               4.5 hours              $73.00              $5.00               $78.00
                                 6.5 hours              $112.00             $5.00               $117.00
                                 8.5 hours              $151.00             $5.00               $156.00
                                 10.5 hours             $190.00             $5.00               $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel


                                                                Uniform and          Dispatcher Fee
                             Duration/Type    Base Route        Vehicle Brand        (per calendar
              Distribution
                             of Planned       Rate (per         Promotion Fee        week per          Fuel Allowance
              Point
                             Route            Planned Route)    (per Planned         Distribution
                                                                Route)               Point)
                             5.5 hours                $198.36                $5.00
                             6.5 hours                $206.70               $5.00
                             7.5 hours                $219.78               $5.00
                             8.5 hours                $241.98               $5.00
              DAU1           9.5 hours                $263.84               $5.00          $1,800.00   See below.
                             10.5 hours               $312.48               $5.00
                             Same Day
                             Planned Route            $198.36               $5.00
                             (6.5 hours)
                             5.5 hours                $214.70               $5.00
                             6.5 hours                $237.30               $5.00
                             7.5 hours                $259.90               $5.00
                             8.5 hours                $282.50               $5.00
                 DCH1        9.5 hours                $306.23               $5.00       $1,800.00         See below.
                             10.5 hours               $332.22               $5.00

                             Same Day
                             Planned Route            $222.60               $5.00
                             (6.5 hours)

                             5.5 hours                $212.80               $5.00
                             6.5 hours                $235.20               $5.00
                             7.5 hours                $257.60               $5.00
                             8.5 hours                $280.00               $5.00
              DCH2, and
                             9.5 hours                $303.52               $5.00       $1,800.00         See below.
               DCH3
                             10.5 hours               $329.28               $5.00
                             Same Day
                             Planned Route            $291.76               $5.00
                             (6.5 hours)
                             5.5 hours                $182.78               $5.00
                             6.5 hours                $206.08               $5.00
               DDA1,         7.5 hours                $217.84               $5.00
              DDA2, and      8.5 hours                $246.40               $5.00       $1,800.00         See below.
               DDA3
                             9.5 hours                $273.28               $5.00

                             10.5 hours               $281.23               $5.00




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                            Same Day
                            Planned Route             $182.78        $5.00
                            (5.5 hours)
                            5.5 hours                 $190.34        $5.00
                            6.5 hours                 $205.40        $5.00
                            7.5 hours                 $220.46        $5.00
                            8.5 hours                 $247.57        $5.00
                            9.5 hours                 $271.67        $5.00
                            10.5 hours                $295.77        $5.00
              DLA1,
              DLA2,
                                              Your Vehicle:                  $1,800.00   See below.
              DLA3,
              DLA4                            $205.4

                            Same Day
                            Planned Route     Delivery               $5.00
                            (6 hours)         Associate
                                              Personal
                                              Vehicle:
                                              $205.40
                            5.5 hours                 $194.37        $5.00
                            6.5 hours                 $209.73        $5.00
                            7.5 hours                 $225.09        $5.00
                            8.5 hours                 $252.75        $5.00
                            9.5 hours                 $277.33        $5.00
                            10.5 hours                $301.91        $5.00

              DLA8                            Your Vehicle:                  $1,800.00   See below.
                                              $194.36

                            Same Day
                            Planned Route     Delivery               $5.00
                            (6 hours)         Associate
                                              Personal
                                              Vehicle:
                                              $194.36
                            5.5 hours                 $190.63        $5.00
                            6.5 hours                 $205.70        $5.00
                            7.5 hours                 $220.76        $5.00
                            8.5 hours                 $247.88        $5.00
                            9.5 hours                 $271.99        $5.00
              DLA9          10.5 hours                $296.10        $5.00   $1,800.00   See below.


                            Same Day          Your Vehicle:
                            Planned Route     $210.95                $5.00
                            (6 hours)




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                                              Delivery
                                              Associate
                                              Personal
                                              Vehicle:
                                              $210.95
                            5.5 hours                 $188.99         $5.00
                            6.5 hours                 $201.99         $5.00
               DSD1,        7.5 hours                 $217.99         $5.00
              DSD2, and                                                       $1,800.00   See below.
               DSD3         8.5 hours                 $220.99         $5.00
                            9.5 hours                 $228.99         $5.00
                            10.5 hours                $279.99         $5.00
                            5.5 hours                 $206.25         $5.00
                            6.5 hours                 $222.50         $5.00
                            7.5 hours                 $238.75         $5.00
                            8.5 hours                 $268.00         $5.00
                 DSF4       9.5 hours                 $294.00         $5.00   $1,800.00   See below.
                            10.5 hours                $325.00         $5.00

                            Same Day
                            Planned Route             $210.00         $5.00
                            (5.5 hours)

                            5.5 hours                 $233.96         $5.00
                            6.5 hours                 $252.40         $5.00
                            7.5 hours                 $270.83         $5.00
                            8.5 hours                 $304.01         $5.00
                 DSF5       9.5 hours                 $333.51         $5.00   $1,800.00   See below.
                            10.5 hours                $363.00         $5.00

                            Same Day
                            Planned Route             $252.66         $5.00
                            (5.5 hours)

                            5.5 hours                 $183.75         $5.00
                            6.5 hours                 $206.25         $5.00
                            7.5 hours                 $219.07         $5.00
                            8.5 hours                 $236.53         $5.00
                            9.5 hours                 $257.73         $5.00
                            10.5 hours                $282.81         $5.00
                 SAT5                                                         $1,800.00   See below.
                            Helper (if
                                                      $135.32   N/A
                            applicable)

                            Same Day
                            Planned Route             $183.75         $5.00
                            (5.5 hours)




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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
               http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1, DSD2 and DSD3, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i)
               $28.00 per hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training




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                 Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
                 DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1, DSD2 and DSD3, (e) $210.64 per
                 Training Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training
                 Route at DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                               Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                            Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To               Dollars per Mile
                                      $1.20              $1.32                  $0.11
                                      $1.33              $1.45                  $0.12
                                      $1.46              $1.58                  $0.13
                                      $1.59              $1.71                  $0.14
                                      $1.72              $1.84                  $0.15
                                      $1.85              $1.97                  $0.16
                                      $1.98              $2.10                  $0.17
                                      $2.11              $2.23                  $0.18
                                      $2.24              $2.36                  $0.19
                                      $2.37              $2.49                  $0.20
                                      $2.50              $2.62                  $0.21
                                      $2.63              $2.75                  $0.22
                                      $2.76              $2.88                  $0.23
                                      $2.89              $3.01                  $0.24
                                      $3.02              $3.14                  $0.25
                                      $3.15              $3.27                  $0.26
                                      $3.28              $3.40                  $0.27
                                      $3.41              $3.53                  $0.28
                                      $3.54              $3.66                  $0.29
                                      $3.67              $3.79                  $0.30
                                      $3.80              $3.92                  $0.31
                                      $3.93              $4.05                  $0.32
                                      $4.06              $4.18                  $0.33
                                      $4.19              $4.31                  $0.34
                                      $4.32              $4.44                  $0.35
                                      $4.45              $4.57                  $0.36
                                      $4.58              $4.70                  $0.37
                                      $4.71              $4.83                  $0.38
                                      $4.84              $4.96                  $0.39
                                      $4.97              $5.09                  $0.40
                                      $5.10              $5.22                  $0.41
                                      $5.23              $5.35                  $0.42
                                      $5.36              $5.48                  $0.43
                                      $5.49              $5.61                  $0.44
                                      $5.62              $5.74                  $0.45
                                      $5.75              $5.87                  $0.46
                                      $5.88              $6.00                  $0.47




                                                     Exhibit A - page 175
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                 EXHIBIT B
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                                                                                consent, despite provision in lease giving lessor
                                                                                right of first refusal on any offer to purchase
     KeyCite Yellow Flag - Negative Treatment                                   lessee's business; right of first refusal did not
Disagreed With by Dick Broadcasting Co., Inc. of Tennessee v. Oak Ridge
                                                                                impose duty to consent to contemporaneous
FM, Inc., Tenn., January 17, 2013
                                                                                lease assignment.
                     84 Wash.App. 755
              Court of Appeals of Washington,                                   4 Cases that cite this headnote
                         Division 1.

       Elmer JOHNSON and his marital community;                           [2]   Contracts
        Robert Lenhart and his marital community;                                   Terms implied as part of contract
            d/b/a Little Deli Mart, Appellants,                                 Duty of good faith exists only in relation to
                             v.                                                 performance of specific contract terms, and does
            M.P. YOUSOOFIAN and Jane Doe                                        not obligate party to accept new obligations.
           Yousoofian, his wife, and the marital
                                                                                25 Cases that cite this headnote
        community composed thereof, Respondents.

                       No. 35860–0–I.                                     [3]   Contracts
                               |                                                    Terms implied as part of contract
                        Dec. 16, 1996.                                          Implied duty of good faith is derivative, in that
                               |                                                it applies to performance of specific contract
                 Order Granting in Part Motion                                  obligations; if there is no contractual duty, there
                   to Publish Jan. 29, 1997.                                    is nothing that must be performed in good faith.

Synopsis                                                                        30 Cases that cite this headnote
Lessees brought action for declaratory relief and damages for
breach of commercial lease and intentional interference with
business expectancy, based on lessor's failure to consent to              [4]   Landlord and Tenant
lease assignment. The Superior Court, King County, Sally                            Consent of Lessor, and Waiver Thereof
Passette, J., entered judgment in favor of lessor and denied                    Parties to lease are free to negotiate standard
lessee's motion to reconsider. Lessees appealed. The Court                      governing landlord's decision to grant or refuse
of Appeals, Coleman, J., held that: (1) lease requiring lessee                  consent to assignment.
to obtain lessor's consent to assignment imposed no implied
covenant of good faith requiring lessor to be reasonable                        1 Cases that cite this headnote
in refusing such consent, and (2) fact that lessor withheld
consent to assignment of lease did not support lessees' claim             [5]   Torts
of tortious interference with business expectancy.                                   Landlord and tenant
                                                                                Fact that lessor withheld consent to assignment
Affirmed.                                                                       of lease to prospective purchaser of lessee's
                                                                                business did not support lessees' claim of tortious
                                                                                interference with business expectancy, where
 West Headnotes (7)                                                             lease required that lessee obtain lessor's consent
                                                                                to any assignment and imposed no explicit duty
                                                                                on lessor to be reasonable in refusing such
 [1]      Landlord and Tenant                                                   consent.
              Reasonableness
          Lease containing unqualified requirement that                         3 Cases that cite this headnote
          lessee obtain lessor's consent to any assignment
          imposed no implied covenant of good faith                       [6]   Torts
          requiring lessor to be reasonable in refusing such


                                          Exhibit
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                                                              U.S. Government Works.                                                  1
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              Business relations or economic advantage,             expectancy, because without Yousoofian's consent to the lease
         in general                                                 assignment, a prospective sale of the lessees' business failed
         Torts                                                      to close. We affirm.
              Contracts
         Torts
              Prospective advantage, contract or relations;                                      FACTS
         expectancy
                                                                    Johnson and Lenhart own and operate a business known as
         Prima facie elements of tortious interference
                                                                    Little Deli Mart, which includes a number of stores that sell
         with business expectancy are existence of valid
                                                                    sandwiches and deli food. In 1982, they opened the first Little
         contractual relationship or business expectancy;
                                                                    Deli Mart at 2701 Airport Way South, Seattle, Washington.
         knowledge of relationship or expectancy on part
                                                                    This property was and is owned by M.P. Yousoofian, who
         of interferer; intentional interference inducing
                                                                    granted Johnson and Lenhart a ten-year lease with an option
         or causing breach or termination of relationship
                                                                    for five additional years.
         or expectancy; that defendant interfered for
         improper purpose or used improper means; and
                                                                    Sometime in 1991, Johnson and Lenhart agreed that they
         resultant damage.
                                                                    would sell their Little Deli Mart stores one at a time. By
         1 Cases that cite this headnote                            letter dated November 25, 1991, however, the lessees wrote to
                                                                    Yousoofian to express their desire to enter into a new ten-year
                                                                    lease for the Airport Way property. Although Yousoofian was
 [7]     Torts                                                      initially only willing to grant the five-year extension under the
              Burden of proof                                       original lease, he ultimately agreed to a new ten-year lease,
         Once elements of tortious interference with                which was executed on May 6, 1992.
         business expectancy are established, interferer
         bears burden of legally justifying interference or         The new lease included an assignment clause that was
         establishing claim of privilege.                           identical to that of the original lease. Paragraph 12 provided
                                                                    in relevant part:
         1 Cases that cite this headnote
                                                                       *757 Lessee shall not ... assign this lease or any
                                                                      part thereof without the written consent of the Lessor,
                                                                      or Lessor's agents. In the event of any assignment so
Attorneys and Law Firms                                               consented to, a minimum charge of 10% of one month's
                                                                      rent shall be made by M.P. YOUSOOFIAN for their [sic
**922 *755 David Balint and David Gossard, De Funis &                 ] services in transferring or assigning this lease, and shall
Balint, P.S., Seattle, for Appellants.                                be paid by Lessee. This lease shall not be assignable by
                                                                      operation of law.
Jeffrey Broihier,    Broihier    &   Wotipka,    Seattle,     for
Respondents.
                                                                    In June 1992, Johnson and Lenhart advised their real estate
                                                                    broker, Sam Yun, that they wished to sell the Airport Way
                                                                    business. Yun soon found a prospective purchaser, James
                          OPINION                                   Y. Lee, who agreed to purchase the business for $320,000,
                                                                    contingent upon Yousoofian's consent to a lease assignment.
*756 COLEMAN, Judge.
                                                                    The purchase agreement stated a closing date of September
Elmer Johnson and Robert Lenhart argue that the trial court         30, 1992. On August 18, 1992, the lessees sent a registered
erred in holding that their landlord, M.P. Yousoofian, had          letter to Yousoofian informing him of the purchase terms and
no implied duty to act in good faith under a lease provision        of his contractual right of first refusal, but they did not request
that prohibited assignment without the landlord's consent.          consent to assign the lease to Lee.
They also claim that the trial court erred in holding that
they failed to prove tortious interference with a business



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On July 27, 1992, the Airport Way building's insurer,
Unigard Insurance, had expressed concern to Yousoofian's           On November 4, 1992, Lee offered to further extend the sale
agent, Susan Thompson, about perceived structural problems.        closing date, but lowered his purchase offer to $300,000.
Thompson inspected the building with Yousoofian on August          Johnson and Lenhart rejected the offer. Their attorney again
21, 1992. Yousoofian informed Thompson that the lessees            wrote to Yousoofian's attorney requesting a consent to
would be making improvements on the building that would            assignment, offering $8,000 as consideration. Yousoofian
address Unigard's concerns. Thompson persuaded Unigard to          rejected this offer by letter dated November 9, 1992. The
continue insuring property. In an August 25, 1992, letter to       parties made no further communications.
the lessees, Yousoofian requested a prompt reply as to the
date they would begin remodeling the building, but he did not      On November 17, 1992, Johnson and Lenhart commenced
mention the proposed sale of the business to Lee.                  this action for declaratory relief and damages for breach
                                                                   of lease and intentional interference with business *759
When the lessees failed to respond to this letter, Yousoofian      expectancy. Six days later, the Lee purchase and sale
mailed it again on September 8, 1992, with a postscript            agreement was rescinded. On June 3, 1993, the court granted
again requesting response to the remodeling question. The          partial summary judgment for the lessees, holding that the
lessees replied by letter dated September 10, 1992, that they      lease contained no requirement that the lessees remodel the
intended to repair a sagging canopy, but the letter made           premises. The order provided that Yousoofian's right to refuse
no mention of remodeling the building. On September 21,            consent to assignment was governed by lease paragraph 12,
1992, Yousoofian's attorney wrote to the lessees, reiterating      and reserved all other issues for trial. Within two months,
his client's request **923 for a timetable of the expected         Yousoofian consented to an assignment of the remaining lease
remodel. Again, no reply followed.                                 term to another purchaser, who bought the Airport Way Store
                                                                   for $235,000.
 *758 On September 28, 1992, the lessees had still not
requested Yousoofian's consent to assignment. They signed          At trial, the court ruled that:
an addendum to the purchase and sale agreement with Lee,
extending the closing date to October 15, 1992. The lessees'
attorney then prepared a letter requesting Yousoofian's                         Paragraph 12 of the lease does
signature on an Assignment of Lease form. The letter, dated                     not impose an obligation on the
October 5, 1992, made no mention of remodeling.                                 Defendant to consent to assignment
                                                                                of the lease. Paragraph 12 rather
On October 9, 1992, Yousoofian's attorney wrote a letter to                     imposes a prohibition upon tenants
the lessees' attorney, stating that Yousoofian had relied on the                from assigning the lease without the
lessees' promise to remodel when he agreed to the new lease                     written consent of the landlord. Under
and that he would not discuss any lease assignment until the                    Paragraph 12, the Defendant was
remodel matter was resolved. The lessees did not reply to                       legally privileged to withhold consent.
this letter. On October 27, 1992, the lessees' attorney again
requested Yousoofian's written consent to assignment, but the
letter did not mention the remodel issue.                          The court added that the implied covenant of good
                                                                   faith imposed no duty to consent to any proposed
On October 27, 1992, a commercial lender approved Lee's            assignment without an express contractual obligation.
purchase loan request subject to receipt of the written consent    Holding additionally that the lessees had failed to prove
to lease assignment and a consent to encumber per Small            improper interference with a business expectancy, the court
Business Administration requirements. The lessees' attorney        awarded $25,000 in attorney fees to Yousoofian, subject to an
wrote to Yousoofian's attorney on October 30, 1992, again          offset of $7,500 for the lessees' fees in the partial summary
requesting consent to the assignment and offering to place         judgment proceeding. The award was made pursuant to a
$90,000 of the Little Deli Mart sale proceeds in escrow.           lease provision. The court denied the lessees' motion to
Yousoofian's attorney responded by letter dated November 4,        reconsider.
1992, that Yousoofian would not consent to any assignment
until the remodeling issue was resolved.



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                                                                              shall be made by the lessors for said
                                                                              assignment.”
                         ANALYSIS

 [1] The central issue here is whether the implied covenant
of good faith requires a landlord to be reasonable in refusing    Alwen, 131 Wash. at 79, 228 P. 851. The original tenants
consent to a lease assignment, when the lease prohibits           subsequently assigned the lease, with the landlord's consent,
assignment without the landlord's consent but imposes no          to John Alwen. Alwen, 131 Wash. at 79, 228 P. 851. Alwen
explicit standard of conduct.                                     then contracted to sell the lease to another party for $400.
                                                                  Alwen, 131 Wash. at 79, 228 P. 851. When Alwen sought
Paragraph 12 is an unqualified prohibition on assignment by       the landlord's consent to the *761 assignment, the landlord
the lessees without the landlord's consent. *760 The lessees      demanded $800 consideration, which Alwen paid under
argue that under the implied covenant of good faith, a landlord   protest. Alwen, 131 Wash. at 79, 228 P. 851. After the
may not arbitrarily refuse consent to proposed assignments.       assignment was complete, Alwen brought suit against the
Yousoofian argues that paragraph 12 imposes no obligation         landlord to recover $700, the difference between the amount
to consent to any assignment, so that he has no duty to           he paid the landlord and the assignment charge the lease
which the implied covenant of good faith can attach. Contract     required. Alwen, 131 Wash. at 79, 228 P. 851.
interpretation is a matter of law that this **924 court reviews
de novo on appeal. Absher Constr. Co. v. Kent School Dist.        The Supreme Court held that despite the provision for a ten
415, 77 Wash.App. 137, 890 P.2d 1071 (1995). We agree with        percent charge, the landlord had acted within his rights in
Yousoofian and affirm.                                            exacting greater consideration for his consent. Alwen, 131
                                                                  Wash. at 80, 228 P. 851. It reasoned that the lease, requiring
This issue was resolved by the Supreme Court in Alwen v.          the landlord's consent before the lease could be assigned,
Tramontin, 131 Wash. 78, 228 P. 851, 40 A.L.R. 551 (1924),        imposed no duty on the landlord. Alwen, 131 Wash. at 80–81,
and Coulos v. Desimone, 34 Wash.2d 87, 208 P.2d 105 (1949).       228 P. 851. Thus, imposing conditions on his consent was not
Both cases held that a lease's unqualified requirement of the     a legal basis for complaint, “however much [Alwen] or others
landlord's consent to the tenant's assignment imposes no duty     may think the exaction was not justified in morals.” Alwen,
on the landlord to be reasonable in refusing consent. Alwen,      131 Wash. at 80, 228 P. 851.
131 Wash. at 81, 228 P. 851; Coulos, 34 Wash.2d at 98–99,
208 P.2d 105. No subsequent Washington case has revisited         In 1949, the Supreme Court affirmed the view that a landlord's
the issue. But since Alwen and Coulos were decided, courts        consent may be arbitrarily refused. Coulos v. Desimone, 34
have recognized an implied duty to perform all contractual        Wash.2d at 99, 208 P.2d 105. The court acknowledged that
duties in good faith. E.g., Miller v. Othello Packers, Inc.,      lease covenants requiring the landlord's consent to assignment
67 Wash.2d 842, 844, 410 P.2d 33 (1966). The dispute here         are restraints on alienation and should be strictly construed.
centers on the effect of this development on the reasoning of     Coulos, 34 Wash.2d at 95, 208 P.2d 105. But it held that
Alwen and Coulos.                                                 because nothing in the contract qualified the prohibition on
                                                                  assignment without consent, the landlord had “the full and
In Alwen, tenants leased an apartment house for $1,000            arbitrary right to refuse to give his consent to an assignment,
per month. Alwen, 131 Wash. at 79, 228 P. 851. The lease          irrespective of the character of the proposed assignee and
contained an assignment clause almost identical to paragraph      although he is actuated by mere caprice or whim.' ” Coulos,
12 at issue in this case:                                         34 Wash.2d at 98, 208 P.2d 105 (quoting 32 Am.Jur. Landlord
                                                                  & Tenant, § 343 (1941)).

            “Neither this lease nor any part thereof               [2] Although Alwen and Coulos have never been expressly
            shall be assigned ... without the written             overruled, Johnson and Lenhart argue that the court's
            consent of the lessors, or their agents,              subsequent recognition of the implied duty of good faith
            being indorsed thereon. But in case an                and fair dealing in the performance of all contractual duties
            assignment of this lease is consented                 should alter their result. They concede that the duty of good
            to by said lessors, a charge of not to                faith “exists only in relation to the performance of specific
            exceed ten percent of one month's rent                contract terms and does not obligate [a] party to accept new



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                                                                      [5] This conclusion forecloses the lessees' argument that the
obligations,” citing Miller v. U.S. Bank of Washington, 72
                                                                     trial court erroneously dismissed their tortious interference
Wash.App. 416, 425, 865 P.2d 536 (1994). *762 But they
                                                                     claim. Because Yousoofian had an absolute privilege to refuse
argue that Yousoofian assumed the obligation to consent to
                                                                     consent to assignment under the lease, we affirm the judgment
reasonable assignments under the contract.
                                                                     for Yousoofian on this tort claim.
The lessees point to Yousoofian's contractual right of
                                                                     [6] [7] The tort of interference with a business expectancy
first refusal concerning any offer to purchase the Airport
                                                                    prohibits wrongful interference of valid contractual
Way store. They claim that, reading the contract as a
                                                                    expectancies by third parties. The prima facie elements
whole, **925 this provision is “rendered meaningless” if
                                                                    are: (1) the existence of a valid contractual relationship
Yousoofian has the right to thwart the sale of the business
                                                                    or business expectancy; (2) knowledge of the relationship
by refusing consent to assign the lease to the prospective
                                                                    or expectancy on the part of the interferor; (3) intentional
buyer. They conclude that the right of first refusal provision
                                                                    interference inducing or causing a breach or termination of the
proves that the lease contemplated the possible sale of the
                                                                    relationship or expectancy; (4) that the defendant interfered
Little Deli Mart, and thus imposes a duty to consent to a
                                                                    for an improper purpose or used improper means; and (5)
contemporaneous lease assignment.
                                                                    resultant damage. Sintra, Inc. v. City of Seattle, 119 Wash.2d
 [3] [4] The lessees' argument must fail. The implied duty 1, 28, 829 P.2d 765, cert. denied, Robinson v. City of Seattle,
of good faith is derivative, in that it applies to the performance  506 U.S. 1028, 113 S.Ct. 676, 121 L.Ed.2d 598 (1992). Once
of specific contract obligations. Miller, 72 Wash.App. at 426       these elements are established, the interferor bears the burden
                                                                    of legally justifying the interference or establishing a claim of
n. 5, 865 P.2d 536; see also Betchard–Clayton, Inc. v. King,
                                                                    privilege. Pleas v. City of Seattle, 112 Wash.2d 794, 774 P.2d
41 Wash.App. 887, 890, 707 P.2d 1361, review denied, 104
                                                                    1158 (1989).
Wash.2d 1027 (1985). If there is no contractual duty, there is
nothing that must be performed in good faith. Contrary to the
                                                                    The trial court held that Yousoofian was legally privileged to
lessees' characterization of the trial court's ruling in this case,
                                                                    withhold consent to assignment of the lease under paragraph
it did not create an exception to the good faith requirement
                                                                    12. Johnson and Lenhart's challenge to this conclusion is
for landlord-tenant leases. This lease simply does not impose
                                                                    based on the earlier partial summary judgment order, which
an obligation on the landlord to consent to any assignment
                                                                    rejected Yousoofian's claim for rescission for the lessees'
sought by the lessees. We observe that the parties to a lease are
                                                                    failure to remodel the premises. They claim that this order
free to negotiate a standard governing the landlord's decision
                                                                    removed Yousoofian's “only excuse” to refuse consent. While
to grant or refuse consent. See, e.g., Ernst Home Center,
                                                                    the order precluded Yousoofian from asserting the alleged
Inc. v. Sato, 80 Wash.App. 473, 476, 910 P.2d 486 (1996)
                                                                    oral agreement, paragraph 12 of the lease gives Yousoofian
(lease providing that consent to assignment “shall not be
                                                                    the right to refuse consent to any assignment for any reason.
unreasonably withheld”).

                                                                     We affirm.
Johnson and Lenhart correctly point out that a growing
number of courts have adopted the Restatement view
                                                                     The remainder of this opinion has no precedential value.
that landlords cannot unreasonably withhold consent under
                                                                     Therefore, it will be filed for public record in accordance with
assignment clauses like paragraph 12. Restatement of
                                                                     the rules governing unpublished opinions.
Property Second § 15.2(2) (1977). But this is the minority
view and contrary to established Washington law. This court
is bound by the holdings in Alwen and Coulos. While giving
landlords the right to arbitrarily refuse *763 consent to a          WEBSTER and COX, JJ., concur.
lease assignment may lead to harsh or inequitable results in
some cases, we are not at liberty to overrule Supreme Court          All Citations
precedent.
                                                                     84 Wash.App. 755, 930 P.2d 921


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McCabe, Micah

From:                             Amazon Logistics Compliance
Sent:                             Monday, May 13, 2019 10:54 AM
To:                               Amazon Logistics Compliance
Subject:                          Policy Reminder: DSP Ownership Transfer


It has come to our attention that certain DSPs have acquired, or are intending to acquire, the Amazon- related businesses
of other DSPs. As a reminder, all DSP contracts prohibit the sale or assignment of a DSP’s Amazon-related business to
another DSP or any other third party without Amazon’s prior written consent. Any such sale or assignment that is carried
out without Amazon’s prior written consent constitutes a breach of your DSP contract and may result in termination of
your DSP contract. If your company intends to acquire the Amazon-related business of another DSP or to sell or assign
its Amazon-related business to another DSP or any other third party, please reach out directly to the Amazon On-Road
Director for your region, as well as amzlcompliance@amazon.com to notify Amazon of your intentions and seek
Amazon’s approval. All requests must be in writing and received by Amazon in advance of the proposed sale or
assignment.

Thank you for your attention to this matter.

Regards,
Amazon Compliance




                                                            1

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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Opposition to Application
for Temporary Restraining Order and Declarations of James Wilson and Richard W. Esterkin in Support Thereof


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______            , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                        D Service       information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed       no
                             later than 24 hours after the document is filed.




                                                                                        D Service       information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/28/2019           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        D     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/28/2019         Renee Robles                                                                       ~~
 Oate                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE
